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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

_______________________________________
                                       )
UNITED STATES OF AMERICA               )
AND STATE OF TEXAS,                    )
                                       )
            Plaintiffs,                )
                                       )
            v.                         )                Civil Action No.
                                       )
E. I. DU PONT DE NEMOURS AND           )
COMPANY, and                           )
PERFORMANCE MATERIALS,                 )
NA, INC.                               )
            Defendants.                )
______________________________________ )

                                         COMPLAINT

       The United States of America, by the authority of the Attorney General of the United

States and through the undersigned attorneys, acting at the request of the Administrator of the

United States Environmental Protection Agency (“EPA”), and the State of Texas, by the

authority of the Attorney General of Texas and through the undersigned attorneys, acting at the

request of the Texas Commission on Environmental Quality (“TCEQ”), file this complaint and

allege as follows:

                                 NATURE OF THE ACTION

       1.      This is a civil action brought against E.I. du Pont de Nemours and Company

(“DuPont”) and Performance Materials NA, Inc. (“PMNA”) (collectively “Defendants”)

pursuant to Section 3008(a) and (g) of the Resource Conservation and Recovery Act (“RCRA”),

42 U.S.C. § 6928(a) and (g); Section 309 of the Clean Water Act (“CWA”), 33 U.S.C. § 1319;

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Section 113(b)(2) of the Clean Air Act (“CAA”), 42 U.S.C. § 7413(b)(2); Section 7.002 of the

Texas Water Code, Tex. Water Code § 7.002; and regulations promulgated thereunder, for

injunctive relief and the assessment of civil penalties. The violations that are the subject of this

complaint occurred at Defendants’ Sabine River facility located at 3055 Farm Road 1006,

Orange, Orange County, Texas (“Facility”).

       2.      The violations that are the subject of this Complaint relate to: Defendants’ failure

to comply with RCRA and the Texas Solid Waste Disposal Act (Tex. Health & Safety Code ch.

361), and other regulatory requirements, with respect to the generation, treatment, storage, and

disposal of hazardous waste at the Facility; Defendants’ discharge of pollutants to the air of the

United States and failure to comply with other regulatory requirements in violation of the CAA

and the Texas Clean Air Act (Tex. Health & Safety Code ch. 382); and DuPont’s violations of

the Texas Pollution Discharge Elimination System permit issued pursuant to the CWA and

Chapter 26 of the Texas Water Code, Tex. Water Code ch. 26.

       3.      As a result of Defendants’ failure to comply with federal and state regulations,

excess pollutants have been and are being emitted into the environment from the Facility. These

pollutants, and some of their harmful effects, include, inter alia: corrosive materials (pH less

than 2.0 or greater than 12.5), which cause irritation, blistering, and burns to tissue upon contact;

benzene, which is a known human carcinogen and volatile organic compound (“VOC”); and

other VOCs found in the ethylene process. VOCs contribute to the formation of ground-level

ozone, a major constituent of smog.

                                         JURISDICTION

       4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.


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§§ 1331, 1345 and 1355; Section 3008(a) of RCRA, 42 U.S.C. § 6928(a); Section 309(b) of the

CWA, 33 U.S.C. §§ 1319(b); and Section 113(b) of the CAA, 42 U.S.C. § 7413(b). This Court

has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

        5.      This Court has personal jurisdiction over Defendants because the Facility is

located in Orange County, Texas, meaning it is presently within the jurisdictional boundaries of

the federal district court for the Eastern District of Texas, as established by Congress under

28 U.S.C. § 124(c).

                                             VENUE

        6.      Venue is proper in this Judicial District under 28 U.S.C. §§ 1391(b) and 1395(a);

Section 3008(a)(1) of RCRA, 42 U.S.C. § 6928(a)(1); Section 309(b) of the CWA, 33 U.S.C.

§ 1319(b); and Section 113(b) of the CAA, 42 U.S.C. § 7413(b), because the violations alleged

in the Complaint are alleged to have occurred in, and Defendants conduct business in, this

Judicial District.

                                             NOTICE

        7.      Notice was given to the State of Texas (“Texas”) prior to the commencement of

this action as required by Section 3008(a)(2) of RCRA, 42 U.S.C. § 6928(a)(2); Section 309(b)

of the CWA, 33 U.S.C. § 1319(b); and Section 113(b) of the CAA, 42 U.S.C. § 7413(b). Texas is

a co-plaintiff in this action.

                                         DEFENDANTS

        8.      DuPont was founded in 1802 and was incorporated in Delaware in 1915. At all

times relevant to this action, DuPont is and has been a corporation organized under the laws of

the State of Delaware and doing business in Texas. DuPont was owner and operator of the


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Facility from 1946 through January 2019.

        9.     PMNA is a wholly owned subsidiary of The Dow Chemical Company and was

incorporated in Delaware in 2018. PMNA is the current owner and operator of the Facility

through a Special Warranty Deed transfer of the Facility from DuPont to PMNA on or about

February 1, 2019.

        10.    At all times relevant to this action, each Defendant has been a “person” within the

meaning of Section 1004(15) of RCRA, 42 U.S.C. § 6903(15); Section 502(5) of the CWA, 33

U.S.C. § 1362(5); Section 302(e) of the CAA, 42 U.S.C. § 7602(e); Tex. Health & Safety Code

§§ 361.003(23) & 382.003(10); and Tex. Water Code § 26.001(25).

                    STATUTORY AND REGULATORY FRAMEWORK

A.      RESOURCE CONSERVATION AND RECOVERY ACT

        11.    RCRA, 42 U.S.C. § 6901 et seq., establishes a comprehensive program to be

administered by the Administrator of EPA (“Administrator”), regulating the generation,

transportation, treatment, storage, and disposal of hazardous waste.

        12.    Pursuant to its authority under RCRA, EPA promulgated regulations at 40 C.F.R.

Parts 260 through 272 that are applicable to generators, transporters, and treatment, storage, and

disposal facilities. These regulations provide detailed requirements governing the activities of

persons who generate hazardous waste. These regulations generally prohibit the treatment,

storage, and disposal of hazardous waste without a permit or equivalent “interim status.” These

regulations also prohibit land disposal of certain hazardous waste.

        13.    Pursuant to Section 3006 of RCRA, 42 U.S.C. § 6926, and 40 C.F.R. Part 271, the

Administrator may authorize a state to administer a RCRA hazardous waste program in lieu of


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the federal program when he or she deems the state program to be substantially equivalent to the

federal program. When a state obtains such authorization, federally-approved state regulations

apply in lieu of the federal RCRA regulations in that state. Federally-approved state RCRA

regulations are enforceable by the United States pursuant to Section 3008(a) of RCRA, 42 U.S.C.

§ 6928(a).

       14.       The Administrator granted final authorization to Texas to administer its

Hazardous Waste Management Program in lieu of the federal program on December 12, 1984,

effective December 26, 1984. 49 Fed. Reg. 48300; see also 40 C.F.R. § 272.2201. There have

been subsequent revisions to the federal program, with corresponding revisions to the authorized

State program.

       15.       In Texas, the authorized hazardous waste program is managed by the TCEQ,

pursuant to the Texas Solid Waste Disposal Act, Tex. Health & Safety Code ch. 361, and the

rules and regulations promulgated thereunder at 30 Texas Administrative Code (Tex. Admin.

Code) Chapter 335. For ease of reference, the Texas regulations are cited below followed by the

applicable federal hazardous waste regulation.

       16.       Pursuant to 30 Tex. Admin. Code § 335.1(146)(A) [40 C.F.R. § 261.2(a)(1)],

“solid waste” is defined as any discarded material, “including solid, liquid, semisolid, or

contained gaseous material resulting from industrial, municipal, commercial, mining, and

agricultural operations, and from community and institutional activities,” subject to certain

exceptions not applicable here. Pursuant to 30 Tex. Admin. Code § 335.1(146)(B) [40 C.F.R.

§ 261.2(a)(2)], a discarded material is any material which is abandoned, recycled, considered

inherently waste-like, or a military munition. Pursuant to 30 Tex. Admin. Code § 335.1(146)(C)


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[40 C.F.R. § 261.2(b)], materials are solid wastes if they are abandoned by being (1) disposed of,

(2) burned or incinerated, (3) accumulated, stored, or processed (but not recycled) before or in

lieu of being abandoned by being disposed of, burned, or incinerated; or (4) sham recycled.

        17.     Pursuant to 30 Tex. Admin. Code § 335.1(73), a solid waste is a “hazardous

waste” if it is “identified or listed as a hazardous waste by the Administrator of the United States

Environmental Protection Agency in accordance with the federal Solid Waste Disposal Act, as

amended by the Resource Conservation and Recovery Act, 42 U.S.C. § 6901 et seq.” Pursuant to

40 C.F.R. § 261.3, a solid waste is a hazardous waste if it meets any of the criteria listed in 40

C.F.R. § 261.3(a)(2)(i)-(iv): generally, if it exhibits any of the characteristics of hazardous waste

(ignitability, corrosivity, reactivity, or toxicity); if it is listed; or if it is a mixture of a solid waste

and one or more hazardous waste(s), and has not been excluded from regulation as a hazardous

waste under 40 C.F.R. § 261.4(b).

        18.     Pursuant to 30 Tex. Admin. Code § 335.1(73) [40 C.F.R. § 261.22(a)(1)], a solid

waste exhibits the hazardous characteristic of corrosivity if it is aqueous and has a pH less than

or equal to 2 or greater than or equal to 12.5.

        19.     Pursuant to 30 Tex. Admin. Code § 335.1(73) [40 C.F.R. § 264.24(b)], a solid

waste exhibits the hazardous characteristic of toxicity if it has a benzene concentration equal or

greater than 0.5 milligrams per liter (mg/L) or parts per million (ppm).

        20.     Pursuant to 30 Tex. Admin. Code § 335.1(67) [40 C.F.R. § 260.10], a “generator”

is defined as “[a]ny person, by site, who produces municipal hazardous waste or industrial solid

waste; any person who possesses municipal hazardous waste or industrial solid waste to be

shipped to any other person; or any person whose act first causes the solid waste to become


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subject to regulation” under the Industrial Solid Waste and Municipal Hazardous Waste

Regulations, subject to one exception not relevant here.

       21.     Pursuant to 30 Tex. Admin. Code § 335.61(a) [40 C.F.R. § 262.10(a)], a generator

of hazardous waste must follow the requirements prescribed in Subchapter C, Chapter 335, Part

1, Title 30, of the Texas Administrative Code, 30 Tex. Admin. Code ch. 335, subch. C [40

C.F.R. Part 262].

       22.     Pursuant to Sections 3005(a) and (e) of RCRA, 42 U.S.C. § 6925(a) and (e), and

30 Tex. Admin. Code §§ 335.2(a) and 335.43(a) [40 C.F.R. § 270.1], hazardous waste shall not

be stored, processed (treated), or disposed of without a permit or interim status.

       23.     Pursuant to Sections 3008(a) and (g) and 3006(g) of RCRA, 42 U.S.C. §§ 6928(a)

and (g) and 6926(g), the United States may enforce the federally-approved Texas hazardous

waste program, as well as the federal regulations that remain effective in Texas, by filing a civil

action in United States District Court seeking civil penalties, and/or injunctive relief.

       24.     Pursuant to Section 3008(g) of RCRA, 42 U.S.C. § 6928(g), as amended by the

Federal Civil Penalties Inflation Adjustment Act of 1990, 28 U.S.C. § 2461 note, the Debt

Collection Improvement Act of 1996, 31 U.S.C. § 3701 note, and the Federal Civil Penalties

Inflation Adjustment Act Improvements Act of 2015, Pub. L. No. 114-74 § 701, 129 Stat. 584,

599-60, and as provided in 40 C.F.R. Part 19, Defendant is liable for a civil penalty of up to

$32,500 per day for each violation occurring after March 15, 2004 through January 12, 2009, up

to $37,500 per day for each violation occurring after January 12, 2009 through November 2,

2015, and up to $76,764 per day for each violation occurring after November 2, 2015, and

assessed on or after December 23, 2020.


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        25.    Pursuant to Tex. Water Code § 7.105, upon the request of the TCEQ, “the

attorney general [of Texas] shall institute a suit in the name of the state for injunctive relief…, to

recover a civil penalty, or for both injunctive relief and a civil penalty.” This requirement applies

generally to any violation of a “commission rule or a provision of a permit issued by the

commission,” Tex. Water Code § 7.032; or “a violation of a statute within the commission’s

jurisdiction or a rule adopted or an order or permit issued under such a statute.” Tex. Water Code

§ 7.101. With respect to violations of the Texas Solid Waste Disposal Act and the regulations

promulgated thereunder, Defendant is liable for a civil penalty of “not less than $50 nor greater

than $25,000 for each day of each violation as the court or jury considers proper. Each day of a

continuing violation is a separate violation.” Tex. Water Code § 7.102.

B.      CLEAN WATER ACT

        26.    Section 101(a) of the CWA, 33 U.S.C. § 1251(a), provides that the objective of

the CWA is to restore and maintain the chemical, physical, and biological integrity of the

Nation’s waters.

        27.    To accomplish this objective, section 301(a) of the CWA, 33 U.S.C. § 1311(a),

prohibits the “discharge of a pollutant by any person” except as authorized by and in compliance

with certain enumerated sections of the CWA, including Sections 301 and 402 of the CWA, 33

U.S.C. §§ 1311 and 1342.

        28.    Pursuant to Section 402 of the CWA, 33 U.S.C. § 1342, the Administrator may

issue a permit, known as the National Pollutant Discharge Elimination System (“NPDES”)

permit, that authorizes the discharge of a pollutant, upon the condition that such discharge meets

the requirements of the CWA or other conditions that the Administrator may find are necessary.


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Typically, such permits include effluent limitations, monitoring and reporting requirements, as

well as operating and maintenance requirements.

       29.     The term “effluent limitation” is defined in Section 502(11) of the CWA, 33

U.S.C. § 1362(11), to mean “any restriction established by a State or the Administrator on

quantities, rates, and concentrations of chemical, physical, biological, and other constituents

which are discharged from point sources into navigable waters, the waters of the contiguous

zone, or the ocean, including schedules of compliance.”

       30.     Pursuant to 40 C.F.R. § 122.41(e), “the permittee shall at all times properly

operate and maintain all facilities and systems of treatment and control (and related

appurtenances) which are installed or used by the permittee to achieve compliance with the

conditions of the [NPDES] permit.”

       31.     Pursuant to Section 402(b) of the CWA, 33 U.S.C. § 1342(b), a state may

establish its own permit program and, after receiving approval of its program by EPA, may issue

NPDES permits.

       32.     In 1998, the State of Texas was authorized by EPA to administer the federal

NPDES program pursuant to Section 402(b) of the CWA, 33 U.S.C. § 1342(b). The TCEQ’s

authority for the issuance of permits is established at Section 26.027 of the Texas Water Code,

Tex. Water Code § 26.027; and 30 Tex. Admin. Code ch. 305.

       33.     Where a state is authorized to administer an NPDES program pursuant to Section

402(b) of the CWA, 33 U.S.C. § 1342(b), the Administrator retains the authority pursuant to

Section 402(i) of the CWA, 33 U.S.C. § 1342(i), to take enforcement action under Section 309 of

the CWA, 33 U.S.C. § 1319.


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       34.     A person may request authorization to discharge under an individual NPDES

permit by submitting a complete application to EPA or an authorized State in accordance with

the requirements of 40 C.F.R. § 122.21(a) and (e). Applications are due at least 180 days prior to

the commencement of a new discharge. 40 C.F.R. § 122.21(c). Manufacturing dischargers are

required to provide detailed information regarding the nature of the operation and its discharges,

including such information as: outfall locations; a line drawing of the water flow through the

facility with a water balance, showing operations contributing wastewater to the effluent and

treatment units; information on each type of process, operation, or production that is contributing

wastewater for each outfall and a description of the treatment the wastewater receives;

intermittent flows; potential improvements or equipment upgrades; and effluent characteristics

based on quantitative data. 40 C.F.R. § 122.21(g).

       35.     All permittees have a duty to correct mistakes or omissions in a permit application

by promptly submitting relevant facts or information. 40 C.F.R. § 122.41(8); 30 Tex. Admin.

Code § 305.125(19).

       36.     All samples and measurements taken for the purpose of monitoring compliance

with NPDES permit requirements shall be representative of the monitored activity. If a permittee

monitors any pollutant more frequently than required by permit, the results of such monitoring

shall be included in the calculation and reporting of the data submitted to the permitting

authority. 40 C.F.R. §§ 122.41(j)(1) and (l)(4)(ii); see 30 Tex. Admin. Code § 305.125(11)(A).

       37.     Permittees shall report all instances of noncompliance with permit conditions

within the time frames established under 40 C.F.R. §§ 122.41(l)(6)-(7); see 30 Tex. Admin. Code

§§ 305.125(9) and 305.125(12).


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       38.     Section 309(b) of the CWA, 33 U.S.C. § 1319(b), authorizes commencement of a

civil action for appropriate relief, including a permanent or temporary injunction, when any

person is in violation of any permit condition or limitation in an NPDES permit issued pursuant

to Section 402 of the CWA, 33 U.S.C. § 1342, including state permits.

       39.     Pursuant to Section 309(d) of the CWA, 33 U.S.C. § 1319(d), as amended by the

Federal Civil Penalties Inflation Adjustment Act of 1990, 28 U.S.C. § 2461 note, the Debt

Collection Improvement Act of 1996, 31 U.S.C. § 3701 note, and the Federal civil Penalties

Inflation Adjustment Act Improvements Act of 2015, Pub. L. No. 114-74 § 701, 129 Stat, 584,

599-60, and as provided in 40 C.F.R. Part 19, any person who violates any permit condition or

limitation in an NPDES permit issued pursuant to Section 402 of the CWA, 33 U.S.C. § 1342,

including state permits, shall be subject to a civil penalty of up to $32,500 per day for each such

violation occurring after March 15, 2004 through January 12, 2009, up to $37,500 per day for

each such violation occurring after January 12, 2009 through November 2, 2015, and up to

$56,460 for each such violation occurring after November 2, 2015, and assessed on or after

December 23, 2020.

   1. Enforcement under the Texas Water Code

       40.     Section 7.101 of the Texas Water Code states that, “A person may not cause,

suffer, allow, or permit a violation of a statute within the commission’s jurisdiction or a rule

adopted or an order or permit issued under such a statute.” Tex. Water Code § 7.101.

       41.     Section 7.102 of the Texas Water Code states, in pertinent part: “A person who

causes, suffers, allows, or permits a violation of a statute, rule, order, or permit relating to any …

matter within the commission’s jurisdiction to enforce, other than violations of [chapters not


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relevant here], shall be assessed for each violation a civil penalty not less than $50 nor greater

than $25,000 for each day of each violation as the court or jury considers proper. Each day of a

continuing violation is a separate violation.” Tex. Water Code § 7.102.

       42.     Section 7.032 of the Texas Water Code states, in pertinent part: “The executive

director [of the TCEQ] may enforce a commission rule or a provision of a permit issued by the

commission by injunction or other appropriate remedy.” Tex. Water Code § 7.032.

C.     CLEAN AIR ACT

       43.     Title I of the CAA requires EPA to establish emission standards for “hazardous

air pollutants” (“HAPs”) in accordance with Section 112 of the CAA, 42 U.S.C. § 7412. These

standards are collectively referred to as the National Emissions Standards for Hazardous Air

Pollutants and are commonly referred to as “NESHAPs.” The CAA establishes a technology-

based control program (i.e., based on Maximum Achievable Control Technology, or “MACT”)

to reduce stationary source emissions of hazardous air pollutants (“HAPs”). See CAA

Section 112(d), 42 U.S.C. § 7412(d).

       44.     The level of control mandated by the CAA for NESHAPs is:

       … the maximum degree of reduction in emissions of the [HAP] … that the
       Administrator, taking into consideration the cost of achieving such emission
       reduction, and any nonair quality health and environmental impacts and energy
       requirements, determines is achievable for new or existing sources in the category
       or subcategory to which such emission standard applies….




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CAA § 112(d)(2), 42 U.S.C. § 7412(d)(2). The NESHAP emissions standards can include the

application of measures, processes, methods, systems or techniques including process changes,

control equipment, design, work practice or operational changes, or a combination of all of the

above.

   1. The Benzene Waste Operations NESHAP – 40 C.F.R. Part 61, Subpart FF

         45.       Benzene is listed as a HAP under Section 112(b) of the CAA, 42 U.S.C.

§ 7412(b). Benzene is a naturally occurring constituent of petroleum products and petroleum

wastes. It is a known carcinogen and is highly volatile. In March 1990, EPA promulgated the

NESHAP for Benzene Waste Operations applicable to benzene-containing wastes (“BWON”).

The benzene regulations are set forth at 40 C.F.R. Part 61, Subpart FF. The TCEQ has received

authorization from EPA to administer the BWON program in the State of Texas.

         46.       Pursuant to the BWON, affected facilities are required to tabulate the total annual

   benzene (“TAB”) content in their wastewater. If the TAB is over 10 megagrams, the facility

   is required to elect a control option that will require the control of all waste streams, or

   control of select waste streams. 40 C.F.R. § 61.342(a)-(f). Facilities that elect the control

   option set forth at 40 C.F.R. § 61.342(c) must manage and treat all facility waste streams

   with a flow-weighted annual benzene concentration of 10 parts per million (ppmw) or greater

   in accordance with 40 C.F.R. §§ 61.343 - 61.348, except that up to 2 megagrams

   (approximately 2.2 tons) 1 per year (Mg/yr) of such waste streams may be chosen for

   exemption from such requirements. This control option is commonly referred to as the “2 Mg



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             A megagram, or metric ton, is equal to 2204.6 pounds or approximately 1.1 U.S. tons.



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   Option.”

   2. Miscellaneous Organic Chemical Manufacturing NESHAP – 40 C.F.R. Part 63,
      Subpart FFFF

       47.      On November 10, 2003, EPA promulgated the NESHAP for Miscellaneous

Organic Chemical Manufacturing (“MON”). The regulations are set forth at 40 C.F.R. Part 63,

Subpart FFFF. The MON establishes emission limits and work practice standards for new and

existing miscellaneous organic chemical manufacturing process units, wastewater treatment and

conveyance systems, transfer operations, and associated ancillary equipment.

       48.      The MON applies to miscellaneous organic chemical process units (MCPUs)

when: (a) the MCPU is located at, or part of a facility that is a major source of HAP emissions as

defined in Section 112(a) of the CAA, 42 U.S.C. § 7412(a); (b) the MCPU produces material or

a family of materials which includes, but is not limited to, organic chemicals classified using the

1997 version of NAICS Code 325; and (c) the MCPU is not an affected source or part of an

affected source under another subpart of 40 C.F.R. Part 63. 40 C.F.R. § 63.2435. Existing

sources were required to comply with the MON requirements for existing sources no later than

May 10, 2008.

       49.      MON standards require that process waste streams must comply with the

requirements of 40 C.F.R. §§ 63.132 - 63.148 and the requirements referenced therein, except as

provided in 40 C.F.R. § 63.2485. 40 C.F.R. Part 63, Subpart FFFF, Table 7.

       50.      The MON required existing sources to submit a Notification of Compliance

Status Report (“NOCS”) to EPA by October 7, 2008, detailing all operating scenarios and how a

source will comply with the MON, including the results of emissions profiles, performance tests,

and calculations to demonstrate initial compliance with applicable MON standards. 40 C.F.R.

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§ 63.2520(d)(1)-(2). Any process changes or changes in any information submitted in the NOCS

must be submitted 60 days prior to the scheduled implementation date of any such change. 40

C.F.R. § 63.2520(e)(10).

       51.     Whenever any person has violated, or is in violation of, any requirement or

prohibition of CAA Section 112(b), the Administrator is authorized under CAA Section 113(b),

42 U.S.C. § 7413(b), as amended by the Federal Civil Penalties Inflation Adjustment Act of

1990, 28 U.S.C. § 2461 note, the Debt Collection Improvement Act of 1996, 31 U.S.C. § 3701

note, and the Federal Civil Penalties Inflation Adjustment Act Improvements Act of 2015, Pub.

L. No. 114-74 § 701, 129 Stat. 584, 599-60, and as provided in 40 C.F.R. Part 19, to initiate a

judicial enforcement action for a permanent or temporary injunction, and/or for a civil penalty of

up to $32,500 per day for each such violation occurring after March 15, 2004 through January

12, 2009, up to $37,500 per day for each violation occurring after January 12, 2009 through

November 2, 2015, and up to $102,638 per day for each violation occurring after November 2,

2015, and assessed on or after December 23, 2020..

   3. Enforcement under the Texas Clean Air Act

       52.     Section 112(l) of the CAA enables EPA to approve a state program for

implementation and enforcement of the NESHAP program. 42 U.S.C. § 7412(l). As part of its

CAA Title V submission, TCEQ stated that it intended to use the mechanism of incorporation by

reference to adopt Section 112 of the CAA into its regulations. 60 Fed. Reg. 30,444 (June 7,

1995); 61 Fed. Reg. 32,699 (June 25, 1996). On December 6, 2001, EPA promulgated final full

approval of Texas’ operating permits program effective November 30, 2001. 66 Fed. Reg.

63,318. Texas has incorporated by reference 40 C.F.R. Part 63 in 30 Tex. Admin. Code ch. 113,


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subch. C. Approval of a state program does not preclude the Administrator from enforcing any

applicable emission standard or requirement under CAA § 112, 42 U.S.C. § 7412(l)(7).

        53.      The Texas Clean Air Act is codified at Tex. Health & Safety Code ch. 382. The

purpose of the act is “to safeguard the state’s air resources from pollution by controlling or

abating air pollution and emissions of air contaminants, consistent with the protection of public

health, general welfare, and physical property, including the esthetic enjoyment of air resources

by the public and the maintenance of adequate visibility.” Id. § 382.002(a). The Texas Clean Air

Act is to be “vigorously enforced.” Id. § 382.002(b).

        54.      The TCEQ is authorized to issue permits relating to the emission of air

contaminants. Id. § 382.051. 2 The TCEQ is also authorized to issue administrative orders, id.

§ 382.023; and to adopt administrative rules under the Texas Clean Air Act, id. § 382.017(a).

        55.      Except as authorized by a rule or order of the TCEQ, a person may not cause,

suffer, allow, or permit the emission of any air contaminant or the performance of any activity

that causes or contributes to, or that will cause or contribute to, air pollution in Texas. Tex.

Health & Safety Code § 382.085(a). Likewise, a person may not cause, suffer, allow, or permit

the emission of any air contaminant or the performance of any activity in violation of the Texas

Clean Air Act or of any rule or order of the TCEQ. Id. § 382.085(b).

        56.      Pursuant to 30 Tex. Admin. Code § 101.20, a person owning or operating a source

of air contaminants in Texas must comply with standards and conditions established by EPA in



        2
          Some TCEQ permits apply to “federal sources” and are styled “Federal Operating Permits.” Id.
§§ 382.051(a)(3), 382.051(b). Despite this nomenclature, the authority to issue such permits is delegated from the
Texas Legislature to the TCEQ through a state statute. Id.



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Sections 111 and 112 of the Federal Clean Air Act and conditions of any permit issued by the

EPA pursuant to 40 C.F.R § 52.21.

       57.     Likewise, pursuant to 30 Tex. Admin. Code § 122.143(4), a person holding an air

permit in Texas must “comply with all terms and conditions codified in the permit and any

provisional terms and conditions required to be included with the permit.” A person holding a

permit, special permit, standard permit, or special exemption must comply with all special

conditions contained in the permit document, pursuant to 30 Tex. Admin. Code § 116.115(c).

       58.     Further, “any noncompliance with either the terms or conditions codified in the

permit or the provisional terms and conditions, if any, constitutes a violation of the [Federal

Clean Air Act] and the [Texas Clean Air Act] and is grounds for enforcement action [and other

penalties].” 30 Tex. Admin. Code § 122.143(4).

       59.     Whenever any person has violated the Texas Clean Air Act (Tex. Health & Safety

Code ch. 382) or the regulations promulgated thereunder, that person is liable to the State for a

civil penalty of “not less than $50 nor greater than $25,000 for each day of each violation as the

court or jury considers proper. Each day of a continuing violation is a separate violation.” Tex.

Water Code § 7.102. The State may also seek injunctive relief to “restrain the violation or threat

of violation,” pursuant to Tex. Water Code § 7.032(b).

                                  GENERAL ALLEGATIONS

       60.     The Facility operates various production areas, a cogeneration unit, the Sabine

River Regional Incinerator, and a wastewater treatment facility. PMNA acquired the Facility

from DuPont in April 2019 and continues operations there. The Facility has been operated by

DuPont and PMNA to produce ethylene that is used onsite to manufacture low-density


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polyethylene and ethylene copolymers, or is delivered via pipeline for sale to other industrial

users.

         61.    The Facility also produces low-density polyethylene polymers and various

specialty polymers at its C, D, and G Units. The Facility’s North American Industrial

Classification (NAICS) Codes are 325110, 325211, and 562211.

         62.    In addition, Defendants have owned and operated a wastewater treatment system

that treats industrial wastewater from Defendants’ processes as well as wastewaters generated by

INVISTA S.ã.r.l. (“INVISTA”), a separate entity that owns other chemical manufacturing

processes at the same plant site as the Facility.

         63.    From on or about March 31, 2009, through April 9, 2009, EPA inspectors

conducted an initial RCRA, CAA and CWA compliance investigation at the Facility (“2009

Inspection”).

         64.    From on or about December 7, 2015, through December 10, 2015, EPA inspectors

conducted a second multimedia compliance investigation at the Facility (“2015 Inspection”).

         65.    On January 25, 2016, EPA made an unannounced visit to the Facility as a follow-

up to the 2015 Inspection to observe the Facility’s progress in addressing certain violations of the

CAA.

         66.    PMNA’s operations at the Facility began in February 2019, so only the references

to DuPont’s operations and violations at the Facility that pre-date PMNA’s operations there form

the basis for claims against DuPont. References to operations and violations at the Facility that

have continued to occur since February 2019 form the basis for claims against PMNA.




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A.     General RCRA and TSWDA Allegations

       67.     The Facility uses a ditch and canal system to transport cooling water, storm water,

and process wastewater throughout the plant. The system is composed of several wood-lined

ditches, several roadside storm water ditches, and two canals. Ditch and canal water can either be

circulated to the cooling water reservoir system or sent to the wastewater treatment system

(biological treatment ponds).

       68.     The Third Street Wood-Lined Ditch is located south of Third Street and contains

a dam near Avenue E, which splits the direction of flow. Wastewater east of the dam drains east

through the East Conduit. A mixing cell in the East Conduit mixes and neutralizes the pH of the

wastewater received from various sources and sends the mixture underground through a concrete

channel to a receiving pond. The Third Street Wood-Lined Ditch and the East Conduit contain

eight pH meters to monitor pH levels. DuPont also disposed of maintenance wastes collected by

vacuum trucks into the Shell Pit.

       69.     The Third-Street Wood-Lined Ditch, the East Conduit and the Shell Pit are each a

“surface impoundment” as that term is defined by 30 Tex. Admin. Code § 335.1(154) [40 C.F.R.

§ 260.10].

       70.     At all times relevant to this action through at least January 2019, DuPont was an

owner and/or operator of the Facility, within the meaning of 30 Tex. Admin. Code § 335.1(114)

& (115) [40 C.F.R. § 260.10]. Since February 2019, PMNA has been an owner and/or operator

of the Facility, within the meaning of 30 Tex. Admin. Code § 335.1(114) & (115) [40 C.F.R.

§ 260.10].

       71.     At all times relevant to this action, Defendants did not have a permit or interim


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status for the treatment, storage, or disposal of hazardous waste in any surface impoundment at

the Facility.

        72.     As set forth below, Defendants have violated the statutory and regulatory

requirements applicable to the management and disposal of solid and/or hazardous waste found

in the Texas Solid Waste Disposal Act, Tex. Health & Safety Code ch. 361, and the rules and

regulations promulgated thereunder at 30 Tex. Admin. Code ch. 335. (The corresponding federal

citations are Sections 3004 and 3005 of RCRA, 42 U.S.C. §§ 6924, 6925, and the regulations

promulgated thereunder, including 40 C.F.R. Parts 261, 262, 264, 265, 268 and 270.)

B.      General Clean Water Act and Texas Water Code Allegations

        73.     Pursuant to Section 402(a) of the CWA, 33 U.S.C. § 1342(a); Tex. Water Code

§ 26.027, and 30 Tex. Admin. Code ch. 305, the TCEQ issued to DuPont Texas Pollutant

Discharge Elimination System (“TPDES”) Permit No. TX0006327 (the 2007 TPDES Permit) on

January 10, 2007. The 2007 TPDES Permit authorized DuPont to discharge wastewaters through

final Outfall 001 after first routing them through internal Outfall 101 or internal Outfall 201.

Outfall 101 and Outfall 201 are internal monitoring stations within the treatment system of the

Facility, and wastewaters monitored there then flow through Outfall 001, where they exit the

Facility and discharge to waters of the United States. The 2007 TPDES Permit specified effluent

limitations, monitoring and reporting requirements, and other conditions.

        74.     The 2007 TPDES Permit authorized DuPont to route storm water and previously-

monitored effluents via internal Outfalls 101 and 201 and discharge them through final Outfall

001. The 2007 TPDES Permit authorized DuPont to discharge treated process wastewater and

treated domestic wastewater through final Outfall 001 only if they were first monitored and


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routed through internal Outfall 201.

       75.     Pursuant to the 2007 TPDES permit, DuPont was authorized to route through

internal Outfall 101 recirculated non-contact cooling water, storm water and utility wastewaters

(including boiler blowdown and emergency firewater washdown) subject to certain specific

effluent limitations identified in the TPDES permit.

       76.     The term “non-contact cooling water” is defined in 40 C.F.R. § 401.11(o) as

“water used for cooling which does not come into direct contact with any raw material,

intermediate product, water product or finished product.” The effluent guidelines and standards

in 40 C.F.R. Part 401 are adopted by reference at 30 Tex. Admin. Code § 305.

       77.     The term “process wastewater” is defined in 40 C.F.R. § 122.2 and 30 Tex.

Admin. Code § 305.2(30) to mean “any water which, during manufacturing or processing, comes

into direct contact with or results from the production or use of any raw material, intermediate

product, finished product, byproduct, or waste product.”

       78.     At all times relevant to this action, Outfall 001 discharged into the Sabine River

Tidal Segment, Segment No. 0501, of the Sabine River Basin.

       79.     The 2007 TPDES Permit required DuPont to monitor its pollutant discharge from

the Facility. The results of this pollutant monitoring were required to be submitted on a monthly

basis to TCEQ in the form of a Discharge Monitoring Report (“DMR”).

       80.     At all times relevant to this action, DuPont submitted DMRs to the TCEQ

pursuant to its 2007 TPDES Permit.

       81.     On October 1, 2010, DuPont submitted an application for a revised TPDES

permit. Since the application was timely filed, the 2007 TPDES Permit remained in full force


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and effect until the TCEQ’s action on the application was final. 30 Tex. Admin. Code

§ 305.65(4).

       82.     TCEQ issued final TPDES Permit No. TX0006327 to DuPont on February 16,

2015 (the 2015 TPDES Permit), at which time the 2007 TPDES Permit was superseded.

       83.     On February 15, 2019, TCEQ transferred the 2015 TPDES Permit to PMNA as

the new owner and operator of the Facility.

C.     General Clean Air Act Allegations

       84.     The Facility is a “major source” as that term is defined at Section 112(a)(1) of the

CAA, 42 U.S.C. § 7412(a)(1).

       85.     The Facility generates benzene-containing waste streams and is, therefore, subject

to the BWON regulations set forth at 40 C.F.R. Part 61, Subpart FF.

       86.     The total annual quantity of benzene emissions from Facility waste is equal to or

greater than 10 Mg/yr (11 tons/yr).

       87.     The C, D and G units at the Facility are subject to the MON and emit gas to

multiple process vents. Several such process vents meet the MON definition of Group 1

continuous process vents or Group 1 batch process vents [40 C.F.R. § 63.2550] and were,

therefore, subject to the MON as of May 10, 2008.40 C.F.R. § 63.2445(b).

       88.     Defendant holds nine Federal Operating Permits (“FOPs”) for the emission of air

contaminants at the Facility:

               a.     FOP 1895, which applies to the Barge Dock Facility;

               b.     FOP 1896, which applies to the Sabine Regional Incinerator;

               c.     FOP 1899, which applies to Site Services;


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               d.      FOP 1900, which applies to the Biopond Unit;

               e.      FOP 1901, which applies to the Copolymer Specialties Division (CSD);

               f.      FOP 2001, which applies to the C Unit;

               g.      FOP 2055, which applies to the D/G Unit;

               h.      FOP 2074, which applies to Ethylene Unit; and

               i.      FOP 2331, which applies to the Cogeneration Unit.

       89.     Each FOP is issued in accordance with, and is subject to, the Texas Clean Air Act,

Tex. Health & Safety Code ch. 382, and 30 Tex. Admin. Code ch. 122 (“Federal Operating

Permits Program”).

       90.     Each FOP includes Special Terms and Conditions (“ST&C”).

       91.     Each FOP requires compliance with the law and regulations applicable to the

permitted facility or unit and thus, generally, any violation of the applicable law or regulation is

also a violation of the FOP.

       92.     A FOP does not relieve the permit holder from the responsibility of obtaining

New Source Review (“NSR”) authorization for new, modified, or existing facilities in

accordance 30 Tex. Admin. Code ch. 116 (“Control of Air Pollution by Permits for New

Construction or Modification”).

       93.     The sites and emission units authorized by a FOP must be operated in accordance

with 30 Tex. Admin. Code ch. 122 and the general terms and conditions, special terms and

conditions, and attachments contained in the FOP.

       94.     On or about March 16, 2019, TCEQ transferred the Facility FOPs to PMNA as

the new owner and operator of the Facility.


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                           FIRST CLAIM FOR RELIEF – RCRA
                (Failure to Make Hazardous Waste Determinations for Process
               Wastewater Discharged into Surface Impoundments at the Facility)

       95.     Paragraphs 1 through 94 are realleged and incorporated by reference.

       96.     Pursuant to 30 Tex. Admin. Code § 335.62 [40 C.F.R. § 262.11], a person who

generates a solid waste, as defined in 30 Tex. Admin. Code § 335.1(146) [40 C.F.R. § 261.2],

must determine if that waste is hazardous pursuant to 30 Tex. Admin. Code § 335.504, either by

applying the required test method or by applying his or her knowledge of the hazardous

characteristic of the waste in light of the materials or the process used.

       97.     Pursuant to 30 Tex. Admin. Code § 335.70 [40 C.F.R. § 262.40(c)], the record of

a hazardous waste determination must be maintained for at least three years from the date the

waste was last sent to on-site or off-site treatment, storage or disposal.

       98.     Based on information obtained during EPA’s inspections, process wastewaters

generated by DuPont were disposed into surface impoundments at the Facility, including the

Third Street Wood-Lined Ditch, the East Conduit and the Shell Pit. Subject to a reasonable

opportunity for further investigation or discovery, Defendants have continued to dispose of

process wastewaters into these surface impoundments.

       99.     Process wastewaters generated by Defendants are considered “solid waste”

pursuant to 30 Tex. Admin. Code § 335.1(146) [40 C.F.R. § 261.2].

       100.    Defendants’ pH meters are installed downstream of numerous process waste

discharge points into the surface impoundments, including the Third Street Wood-Lined Ditch,

the East Conduit and the Shell Pit. These meters recorded pH readings of less than 2 or greater

than 12.5 on numerous days between 2005 and 2015. Subject to a reasonable opportunity for


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further investigation or discovery, these meters have continued to record pH readings of less than

2 or greater than 12.5 on occasions from 2015 to the present.

       101.    Solid waste with pH readings of less than 2 or greater than 12.5 is a hazardous

waste due to the characteristic of corrosivity, EPA Hazardous Waste Code D002. 30 Tex.

Admin. Code § 335.1(73) [40 C.F.R. § 261.22].

       102.    Subject to reasonable opportunity for further investigation or discovery, from at

least the date of the 2009 Inspection to the present, Defendants have failed to make and

document adequate hazardous waste determinations for the process waste streams entering the

Third Street Wood-Lined Ditch, the East Conduit and the Shell Pit.

       103.    Subject to reasonable opportunity for further investigation or discovery, from at

least the date of the 2009 Inspection to the present, Defendants have failed to make and

document hazardous waste determinations to determine whether other process wastewaters

generated at the Facility were hazardous waste prior to discharging the wastewaters into surface

impoundments at the Facility.

       104.    Defendants have violated 30 Tex. Admin. Code §§ 335.62 and 335.504 [40

C.F.R. § 262.11] by failing to make hazardous waste determinations for process wastewaters that

were disposed into surface impoundments at the Facility, and violated 30 Tex. Admin. Code

§ 335.70 [40 C.F.R. § 262.40(c)], by failing to maintain records of such hazardous waste

determinations. Subject to reasonable opportunity for further investigation or discovery, PMNA

continues to violate these requirements. Each failure to comply with the hazardous waste

determination requirements for each process wastewater stream constitutes a separate violation

for which relief is sought.


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        105.    Pursuant to Section 3008(a) and (g) of RCRA, 42 U.S.C. § 6928(a) and (g),

Defendants are liable to the United States for civil penalties for each violation occurring during

their respective periods of ownership and operation of the Facility, and PMNA is liable for

injunctive relief.

        106.    Pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the Texas Water Code, Tex.

Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also liable to the State for civil

penalties for each violation occurring during their respective periods of ownership and operation

of the Facility, and PMNA is liable for injunctive relief.

                            SECOND CLAIM FOR RELIEF - RCRA
                     (Treatment, Storage and Disposal of Hazardous Waste in the
                          Third Street Wood-Lined Ditch Without a Permit)

        107.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

        108.    Pursuant to Sections 3005(a) and (e) of RCRA, 42 U.S.C. §§ 6925(a) and (e), and

30 Tex. Admin. Code §§ 335.2(a) and 335.43(a) [40 C.F.R. § 270.1(c)], a permit is required for

the processing (treatment), storage, or disposal of hazardous waste.

        109.    Solid waste with a pH of less than 2 or greater than 12.5 is a hazardous waste due

to the characteristic of corrosivity, EPA Hazardous Waste Code D002. 30 Tex. Admin. Code

§ 335.1(73) [40 C.F.R. § 261.22].

       110.     DuPont’s records show that, for the period from at least 2005 to 2015, DuPont

disposed of D002 hazardous waste into the Third Street Wood-Lined Ditch. Subject to

reasonable opportunity for further investigation or discovery, Defendants have continued to

dispose of hazardous waste in violation of these requirements.

        111.    To date, Defendants have neither applied for nor received a RCRA permit to


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allow the disposal of hazardous waste into the Third Street Wood-Lined Ditch.

        112.    Defendants have violated Sections 3005(a) and (e) of RCRA, 42 U.S.C.

§§ 6925(a) and (e), and 30 Tex. Admin. Code §§ 335.2(a) and 335.43(a) [40 C.F.R. § 270.1(c)],

by disposing of hazardous waste into the Third Street Wood-Lined Ditch without a permit or

interim status. Each day of each unauthorized treatment, storage or disposal of hazardous waste

in the Third Street Wood-Lined Ditch is a separate violation.

        113.    Pursuant to Section 3008(a) and (g) of RCRA, 42 U.S.C. § 6928(a) and (g),

Defendants are liable to the United States for civil penalties for each violation occurring during

their respective periods of ownership and operation of the Facility, and PMNA is liable for

injunctive relief.

        114.    Pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the Texas Water Code, Tex.

Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also liable to the State for civil

penalties for each violation occurring during their respective periods of ownership and operation

of the Facility, and PMNA is liable for injunctive relief.

                          THIRD CLAIM FOR RELIEF - RCRA
                      (Disposal of Hazardous Waste into the Third Street
                 Wood-Lined Ditch in Violation of the Land Disposal Prohibition)

        115.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

        116.    30 Tex. Admin. Code § 335.431(c)(1) adopts by reference the regulations

contained in 40 C.F.R. Part 268. Pursuant to 30 Tex. Admin. Code § 335.431(c)(1) [40 C.F.R.

§ 268.40], D002 hazardous waste is prohibited from land disposal unless the generator treats the

waste in accordance with the treatment standards set forth at 40 C.F.R. § 268.40. 40 C.F.R.

§ 268.40(a) further provides that a prohibited waste in the table “Treatment Standards for


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Hazardous Wastes” may be land disposed only if it meets the requirements found in the table.

        117.    Placement of hazardous waste in a surface impoundment constitutes land disposal

within the meaning of that term as set forth at 40 C.F.R. § 268.2(c).

        118.    DuPont’s records show that for the period from at least 2005 to 2015, DuPont

disposed of D002 hazardous waste in the Third Street Wood-Lined Ditch without meeting the

required treatment standards, in violation of 30 Tex. Admin. Code § 335.431(c)(1) [40 C.F.R.

§ 268.40]. Subject to reasonable opportunity for further investigation or discovery, Defendants

have continued to dispose of hazardous waste in violation of these requirements. Each day of

each unauthorized treatment, storage or disposal of hazardous waste in the Third Street Wood-

Lined Ditch is a separate violation of the land disposal restrictions.

        119.    Pursuant to Section 3008(a) and (g) of RCRA, 42 U.S.C. § 6928(a) and (g),

Defendants are liable to the United States for civil penalties for each violation occurring during

their respective periods of ownership and operation of the Facility, and PMNA is liable for

injunctive relief.

        120.    Pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the Texas Water Code, Tex.

Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also liable to the State for civil

penalties for each violation occurring during their respective periods of ownership and operation

of the Facility, and PMNA is liable for injunctive relief.

                          FOURTH CLAIM FOR RELIEF - RCRA
                      (Treatment, Storage and Disposal of Hazardous Waste
                             in the East Conduit Without a Permit)

        121.    Paragraphs 1 through are realleged and incorporated herein by reference.

        122.    Pursuant to Sections 3005(a) and (e) of RCRA, 42 U.S.C. §§ 6925(a) and (e), and


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30 Tex. Admin. Code §§ 335.2(a) and 335.43(a) [40 C.F.R. § 270.1(c)], a permit is required for

the processing (treatment), storage, or disposal of hazardous waste.

        123.   Solid waste with a pH of less than 2 or greater than 12.5 is a hazardous waste due

to the characteristic of corrosivity, EPA Hazardous Waste Code D002. 30 Tex. Admin. Code

§ 335.1(73) [40 C.F.R. § 261.22].

        124.   The East Conduit is part of the wastewater treatment system and is that portion of

the drainage system along Third Street that drains to the east and discharges into the Mixing

Pond.

        125.   The East Conduit receives wastewaters from numerous process areas. A mixing

cell located in the East Conduit mixes and neutralizes the pH of the wastewater before sending

the mixture to a receiving pond. DuPont reported pH concentrations of less than 2.0 or greater

than 12.5 pH units in the East Conduit. The pH readings were measured by meters installed in

the East Conduit down-gradient from the discharge areas noted above.

        126.   DuPont’s records show that DuPont disposed of D002 hazardous waste in the East

Conduit during the period from at least 2005 through 2015. Subject to reasonable opportunity for

further investigation or discovery, Defendants continued to dispose of hazardous waste there in

violation of requirements.

        127.   To date, Defendants have neither applied for nor received a RCRA permit to

allow the disposal of hazardous waste into the East Conduit.

        128.   Defendants violated Sections 3005(a) and (e) of RCRA, 42 U.S.C. §§ 6925(a) and

(e); and 30 Tex. Admin. Code §§ 335.2(a) and 335.43(a) [40 C.F.R. § 270.1(c)], by disposing of

hazardous waste in the East Conduit without a permit or interim status. Each day of each


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unauthorized treatment, storage or disposal of hazardous waste in the East Conduit constitutes a

separate violation for which relief is sought.

        129.    Pursuant to Section 3008(a) and (g) of RCRA, 42 U.S.C. § 6928(a) and (g),

Defendants are liable to the United States for civil penalties for each violation occurring during

their respective periods of ownership and operation of the Facility, and PMNA is liable for

injunctive relief.

        130.    Pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the Texas Water Code, Tex.

Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also liable to the State for civil

penalties for each violation occurring during their respective periods of ownership and operation

of the Facility, and PMNA is liable for injunctive relief.

                            FIFTH CLAIM FOR RELIEF - RCRA
                       (Disposal of Hazardous Waste into the East Conduit
                          in Violation of the Land Disposal Prohibition)

        131.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

        132.    30 Tex. Admin. Code § 335.431(c)(1) adopts by reference the regulations

contained in 40 C.F.R. Part 268. Pursuant to 30 Tex. Admin. Code § 335.431(c)(1) [40 C.F.R.

§ 268.40], D002 hazardous waste is prohibited from land disposal unless the generator treats the

waste in accordance with the treatment standards set forth at 40 C.F.R. § 268.40. 40 C.F.R.

§ 268.40(a) further provides that a prohibited waste in the table “Treatment Standards for

Hazardous Wastes” may be land disposed only if it meets the requirements found in the table.

        133.    Placement of hazardous waste in a surface impoundment constitutes land disposal

within the meaning of that term as set forth at 40 C.F.R. § 268.2(c).

        134.    DuPont’s records show that for the period from at least 2005 to 2015 DuPont


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disposed of D002 hazardous waste in the East Conduit from certain process units without

meeting the required treatment standards, in violation of land disposal regulations at 30 Tex.

Admin. Code § 335.431(c)(1) [40 C.F.R. § 268.40]. Subject to reasonable opportunity for further

investigation or discovery, Defendants continued to dispose of hazardous waste in violation of

these requirements. Each day of each unauthorized treatment, storage or disposal of hazardous

waste in the East Conduit constitutes a separate violation of the land disposal restrictions for

which relief is sought.

        135.    Pursuant to Section 3008(a) and (g) of RCRA, 42 U.S.C. § 6928(a) and (g),

Defendants are liable to the United States for civil penalties for each such violation occurring

during their respective periods of ownership and operation of the Facility, and PMNA is liable

for injunctive relief.

        136.    Pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the Texas Water Code, Tex.

Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also liable to the State for civil

penalties for each violation occurring during their respective periods of ownership and operation

of the Facility, and PMNA is liable for injunctive relief.

                            SIXTH CLAIM FOR RELIEF - RCRA
                    (Treatment, Storage and Disposal of Hazardous Waste in the
                                    Shell Pit Without a Permit)

        137.    Paragraphs 1 through 94 are realleged and incorporated by reference.

        138.    On or about July 26, 2008, October 20-21, 2008, and December 12, 2008, DuPont

disposed of maintenance waste transported by vacuum trucks into the Shell Pit. These discarded

wastewaters constitute “solid wastes” pursuant to 30 Tex. Admin. Code § 335.1(146) [40 C.F.R.

§ 261.2].


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          139.   According to DuPont’s records, the wastewaters disposed into the Shell Pit had

pH readings of less than 2 or greater than 12.5.

          140.   Solid waste with pH readings of less than 2 or greater than 12.5 is a hazardous

waste due to the characteristic of corrosivity, EPA Hazardous Waste Code D002. 30 Tex.

Admin. Code § 335.1(73) [40 C.F.R. § 261.22].

          141.   To date, Defendants have neither applied for nor received a RCRA permit to

allow the disposal of hazardous waste into the Shell Pit.

          142.   Defendants have violated Sections 3005(a) and (e) of RCRA, 42 U.S.C.

§§ 6925(a) and (e); and 30 Tex. Admin. Code §§ 335.2(a) and 335.43(a) [40 C.F.R. § 270.1(c)],

by disposing of hazardous waste in the Shell Pit without a permit or interim status. Each day of

each unauthorized treatment, storage or disposal of hazardous waste in the Shell Pit constitutes a

separate violation for which relief is sought.

          143.   Pursuant to Section 3008(a) and (g) of RCRA, 42 U.S.C. § 6928(a) and (g),

Defendants are liable to the United States civil penalties for each violation occurring during their

respective periods of ownership and operation of the Facility, and PMNA is liable for injunctive

relief.

          144.   Pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the Texas Water Code, Tex.

Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendant is also liable to the State for civil

penalties for each violation occurring during their respective periods of ownership and operation

of the Facility, and PMNA is liable for injunctive relief.




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                          SEVENTH CLAIM FOR RELIEF - RCRA
                (Disposal of Hazardous Waste into the Shell Pit in Violation of the
                                   Land Disposal Prohibition)

        145.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

        146.    30 Tex. Admin. Code § 335.431(c)(1) adopts by reference the regulations

contained in 40 C.F.R. Part 268. Pursuant to 30 Tex. Admin. Code § 335.431(c)(1) [40 C.F.R.

§ 268.40], D002 hazardous waste is prohibited from land disposal unless the generator treats the

waste in accordance with the treatment standards set forth at 40 C.F.R. § 268.40. 40 C.F.R.

§ 268.40(a) further provides that a prohibited waste in the table “Treatment Standards for

Hazardous Wastes” may be land disposed only if it meets the requirements found in the table.

        147.    Placement of hazardous waste in a surface impoundment constitutes land disposal

within the meaning of that term as set forth at 40 C.F.R. § 268.2(c).

        148.    On or about July 26, 2008, October 20-21, 2008, and December 12, 2008, DuPont

disposed of D002 hazardous waste in the Shell Pit without meeting the required treatment

standards, in violation of land disposal regulations at 30 Tex. Admin. Code § 335.431(c)(1) [40

C.F.R. § 268.40]. Each day of each unauthorized treatment, storage or disposal of hazardous

waste in the Shell Pit constitutes a separate violation of the land disposal restrictions for which

relief is sought.

        149.    Pursuant to Section 3008(a) and (g) of RCRA, 42 U.S.C. § 6928(a) and (g),

Defendants are liable to the United States for civil penalties for each violation occurring during

their respective periods of ownership and operation of the Facility, and PMNA is liable for

injunctive relief.

        150.    Pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the Texas Water Code, Tex.


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Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also liable to the State for civil

penalties for each violation occurring during their respective periods of ownership and operation

of the Facility, and PMNA is liable for injunctive relief.

                             EIGHTH CLAIM FOR RELIEF – RCRA
                     (Failure to have Financial Assurance for Closure of the Third
                         Street Wood-Lined Ditch, East Conduit and Shell Pit)

        151.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

        152.    Pursuant to 30 Tex. Admin. Code §§ 37.6021, 335.179(b), and 335.128(a), [40

C.F.R. §§ 264.143 and 265.143], the owner and operator of each hazardous waste facility must

establish financial assurance for closure of the facility. The owner or operator must choose from

the options set forth in 30 Tex. Admin. Code §§ 37.6021, 335.179(b), and 335.128(a) [40 C.F.R.

§§ 264.143(a)-(f) and 265.143(a)-(f)].

        153.    Defendants have not established financial assurance for the closure of the Third

Street Wood-Lined Ditch, the East Conduit and the Shell Pit, in violation of 30 Tex. Admin.

Code §§ 37.6021, 335.179(b), and 335.128(a) [40 C.F.R. §§ 264.143 and 265.143]. Subject to

reasonable opportunity for further investigation or discovery, PMNA continues to violate these

requirements. Each failure to establish financial assurance for closure of a surface impoundment

constitutes a separate violation.

        154.    Pursuant to Section 3008(a) and (g) of RCRA, 42 U.S.C. § 6928(a) and (g),

Defendants are liable to the United States for civil penalties for each violation occurring during

their respective periods of ownership and operation of the Facility, and PMNA is liable for

injunctive relief.

        155.    Pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the Texas Water Code, Tex.


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Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also liable to the State for civil

penalties for each violation occurring during their respective periods of ownership and operation

of the Facility, and PMNA is liable for injunctive relief.

                            NINTH CLAIM FOR RELIEF – CWA
              (Unauthorized Discharge of Process Wastewater from C, D, and G Units)

       156.     Paragraphs 1 through 94 are realleged and incorporated herein by reference.

       157.     DuPont routed process wastewater from the C, D, and G low-density Units to the

Fifth Street Wood-Lined Ditch. Specifically, DuPont routed process wastewater to the Fifth

Street Wood-Lined Ditch from the following units: the C Unit pellet skimmer and floor drains,

the D Unit Floor Drains, and the G Unit oil and water separator and floor drains. The cooling

water recirculation system does not have a process to treat process wastewater from the C, D and

G Units.

       158.     The Fifth Street Wood-Lined Ditch is part of the cooling water re-circulating

system, and flow from the Fifth Street Wood-Lined Ditch is routed through a canal to the North

Water Reservoir, which is a component of the Fresh Water Reservoir.

       159.     By introducing process wastewater originating in the C, D, and G Units into the

cooling water recirculation system, DuPont mixed process wastewater and non-contact cooling

water in the cooling water recirculation system, which includes the Fresh Water Reservoir.

       160.     Intermittently, DuPont routed non-contact cooling water mixed with process

wastewater through Internal Outfall 101. EPA’s review of DuPont’s records from 2006-2008

indicate at least 30 days on which DuPont routed non-contact cooling water mixed with process

wastewater through Internal Outfall 101. After passing through Internal Outfall 101, the mixture

discharged through Outfall 001.

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       161.    The 2007 TPDES Permit did not authorize DuPont to route process wastewater

from the C, D and G Units through Internal Outfall 101 and then discharge it through Outfall

001.

       162.    Each unauthorized discharge of pollutants in violation of the 2007 TPDES Permit

by DuPont constituted a separate violation of its 2007 TPDES Permit and a separate violation of

Section 26.121 of the Texas Water Code, Tex. Water Code § 26.121. Subject to reasonable

opportunity for further investigation or discovery, DuPont continued to route untreated process

wastewater periodically through Outfall 101 and then discharge it through Outfall 001 during the

life of its 2007 Permit.

       163.    Pursuant to Section 309(b) and (d) of the CWA, 33 U.S.C. § 1319(b) and (d),

DuPont is liable to the United States for civil penalties for each violation of the 2007 TPDES

Permit referenced above.

       164.    Pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the Texas Water Code, Tex.

Water Code §§ 7.032, 7.101, 7.102 and 7.105, DuPont is also liable to the State for civil

penalties for each violation.

                          TENTH CLAIM FOR RELIEF - CWA
          (Unauthorized Discharge of Process Wastewater from Sludge Settling Basin)

       165.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

       166.    DuPont routed Ethylene Cooling Tower filter backwash solids and Water Plant

Clarifier sludge water to the Sludge Settling Basin.

       167.    Wastewater from the Sludge Settling Basin, which is “process wastewater,” enters

the cooling water recirculation system through a culvert at the South Cooling Water Reservoir

(308-2A), which is a component of the Fresh Water Reservoir.

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       168.    The cooling water recirculation system does not treat process wastewater from the

Sludge Settling Basin.

       169.    By introducing process wastewater originating in the Sludge Settling Basin into

the cooling water recirculation system, DuPont mixed process wastewater and non-contact

cooling water in the cooling water recirculation system, which includes the Fresh Water

Reservoir.

       170.    Intermittently, DuPont routed non-contact cooling water mixed with process

wastewater through Internal Outfall 101. EPA’s review of DuPont’s records from 2006-2008

indicate at least 30 days on which DuPont routed non-contact cooling water mixed with process

wastewater through Internal Outfall 101 and then discharged it through Outfall 001.

       171.    The 2007 TPDES Permit did not authorize DuPont to route process wastewater

from the Sludge Settling Basin through Internal Outfall 101 and then discharge it through Outfall

001.

       172.    Each unauthorized discharge of pollutants in violation of the 2007 TPDES Permit

by DuPont constituted a separate violation of its 2007 TPDES Permit and of Section 26.121 of

the Texas Water Code, Tex. Water Code § 26.121. Subject to reasonable opportunity for further

investigation or discovery, DuPont continued to route untreated process wastewater periodically

through Outfall 101 and then discharge it through Outfall 001 during the life of its 2007 Permit.

       173.    Pursuant to Section 309(b) and (d) of the CWA, 33 U.S.C. § 1319(b) and (d),

DuPont is liable to the United States for civil penalties for each violation of the 2007 TPDES

Permit referenced above.

       174.    Pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the Texas Water Code, Tex.


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Water Code §§ 7.032, 7.101, 7.102 and 7.105, DuPont is also liable to the State for civil

penalties for each violation.

                        ELEVENTH CLAIM FOR RELIEF - CWA
                   (Unauthorized Discharge of Treated Domestic Wastewater)

       175.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

       176.    DuPont routed treated domestic wastewater to the cooling water recirculation

system by routing treated domestic wastewater to the Middle Cooling Water Reservoir (308-2B),

which is a component of the Fresh Water Reservoir.

       177.    By introducing treated domestic wastewater into the cooling water recirculation

system, DuPont mixed treated domestic wastewater and non-contact water in the cooling water

recirculation system, including the Fresh Water Reservoir.

       178.    Intermittently, DuPont routed non-contact cooling water mixed with treated

domestic wastewater through Internal Outfall 101. EPA’s review of DuPont’s records from

2006-2008 indicate at least 30 days on which DuPont routed non-contact cooling water that had

been mixed with treated domestic wastewater through Internal Outfall 101 and then discharged it

through Outfall 001.

       179.    The 2007 TPDES Permit did not authorize DuPont to route treated domestic

wastewater through Internal Outfall 101 and then discharge it through Outfall 001.

       180.    Each unauthorized discharge of pollutants in violation of the 2007 TPDES Permit

by DuPont constitutes a separate violation of the 2007 TPDES Permit and of Section 26.121 of

the Texas Water Code, Tex. Water Code § 26.121. Subject to reasonable opportunity for further

investigation or discovery, DuPont continued to route untreated process wastewater periodically

through Outfall 101 and then discharge it through Outfall 001 during the life of its 2007 Permit.

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        181.    Pursuant to Section 309(b) and (d) of the CWA, 33 U.S.C. § 1319(b) and (d),

DuPont is liable to the United States for civil penalties for each violation of the 2007 TPDES

Permit referenced above.

        182.    For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, DuPont is also liable to

the State for civil penalties.

                           TWELFTH CLAIM FOR RELIEF – CWA
                          (Failure to Accurately Report Sampling Results)

        183.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

        184.    Pursuant to the 2007 TPDES Permit, Monitoring and Reporting Requirements

Section, Paragraph 4 (Additional Monitoring by Permittee), if the permittee [DuPont] monitors

any pollutant at the location(s) designated in the permit more frequently than required by the

Permit using approved analytical methods, all results of such monitoring shall be included in the

calculation and the values shall be reported on the approved self-report form. The 2015 TPDES

Permit also requires this monitoring protocol.

        185.    Pursuant to the 2007 TPDES Permit, page 2e (Effluent Limitations and

Monitoring Requirements, Outfall Number 201), DuPont was required to take daily grab samples

for pH at Outfall 201. The 2015 TPDES Permit also requires this sampling at Outfall 201.

        186.    DuPont routinely obtained the daily grab sample for pH at 6:00 a.m. from Internal

Outfall 201 and routinely reported compliance with the pH levels for Internal Outfall 201 in its

monthly DMR to TCEQ.

        187.    DuPont also monitored the pH from the C-1 culvert, which is approximately 200

yards upstream from Internal Outfall 201. The monitor at the C-1 culvert takes minute-to-minute

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readings of the pH levels.

       188.    There is no form of treatment or commingling of waste streams between Internal

Outfall 201 and the C-1 culvert.

       189.    Since at least 2006, readings taken from the monitor located at the C-1 culvert

have shown that the pH in the waste stream exceeded the permit limits for Outfall 201 on

thousands of occasions. These pH exceedances commonly occurred between the hours of 12:00

p.m. and 5:00 p.m. By failing to include the pH readings taken upstream at the C-1 culvert in its

DMR, DuPont failed to report representative samples at Outfall 201.

       190.    In or about 2013, DuPont installed an AquaTROLL water quality meter in a

different location upstream of Outfall 201 and began using that meter instead of the C-1 Culvert

meter to monitor pH in the waste stream entering Outfall 201. During the 2015 Inspection, EPA

found that the readings at the new location frequently exceeded the permit limit for Outfall 201.

By failing to include the pH readings taken upstream at the AquaTROLL meter in its DMR,

DuPont failed to report representative samples at Outfall 201.

       191.    Each occasion that DuPont submitted a DMR for Outfall 201 without including

the pH readings obtained from the upstream sampling at the C-1 culvert or from the

AquaTROLL meter is a violation of the requirements of 2007 TPDES Permit, Monitoring and

Reporting Requirements Section, Paragraph 4 (Additional Monitoring by Permittee), or the 2015

TPDES Permit, as applicable, and a violation of Section 26.121 of the Texas Water Code, Tex.

Water Code § 26.121. Subject to a reasonable opportunity for further investigation or discovery,

Defendants have continued to violate these requirements of the 2015 TPDES Permit.

       192.    Pursuant to Section 309(b) and (d) of the CWA, 33 U.S.C. § 1319(b) and (d),


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Defendants are liable to the United States for civil penalties for each violation of the 2007

TPDES Permit or 2015 TPDES Permit, as applicable, occurring during their respective periods

of ownership and operation of the Facility, and PMNA is liable for injunctive relief.

       193.    For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                         THIRTEENTH CLAIM FOR RELIEF – CWA
                   (Failure to Comply with Permit Conditions for Pond System)

       194.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

       195.    When applying for reissuance of DuPont’s TPDES Permit, which eventually was

issued as the 2015 TPDES Permit, DuPont submitted its Application for Permit Renewal to

TCEQ. In the Application for Permit Renewal, DuPont described its biological treatment

impoundments as follows: “[t]hese impoundments include three anaerobic/anoxic biological

treatment impoundments followed by four aerobic biological treatment impoundments.”

       196.    The anaerobic or aerobic nature of a biological treatment pond affects its ability to

adequately treat wastewaters and ensure compliance with effluent limitations.

       197.    In DuPont’s permit application, the 27-acre Pond, Northwest Pond, and 16-acre

Pond are all identified as anaerobic/anoxic, and the Northeast Pond, Southeast Pond, and

Southwest Pond are all identified as aerobic.

       198.    DuPont routinely collected data on the aerobic or anoxic levels in its biological

treatment impoundments pursuant to the 2007 and 2015 Permits. EPA reviewed DuPont’s data

during the 2015 Inspection, and the data shows that the pond system is not working as described

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in the permit application. In particular, at the time of EPA’s inspections the three ponds listed as

aerobic in the permit application did not maintain conditions sufficient for aerobic activity to

occur, thereby inhibiting the pond system’s ability to properly degrade wastes as necessary to

ensure continuing compliance with permit limits.

       199.    As stated in the 2015 TPDES Permit, in Paragraph 1(b) of the Permit Conditions

Section, the permit was granted on the basis of the information supplied and representations

made by DuPont, and in reliance upon the accuracy and completeness of the information and

representations. Failure to disclose fully all relevant facts is grounds for modifying, suspending,

or revoking the permit in whole or in part.

       200.    The 2015 TPDES Permit, in Paragraph 10 of the Permit Conditions Section,

provides that “[t]he application pursuant to which the permit has been issued is incorporated

herein.”

       201.    The 2015 TPDES Permit, in Paragraph 1(a) of the Permit Conditions Section,

further provides that the Permittee has an obligation to promptly correct inaccurate facts and

missing information on a permit application.

       202.    DuPont did not promptly inform TCEQ of the inaccuracies on its application

regarding the design or operation of the biological treatment impoundments.

       203.    The 2015 TPDES Permit, in Paragraph 2(b) of the Permit Conditions Section,

provides that the Permittee has a duty to comply with all conditions of the permit and that failure

to comply with any permit condition constitutes a violation of the permit and grounds for

enforcement action.

       204.    By failing to promptly correct inaccuracies in its permit application to TCEQ,


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DuPont violated the permit conditions and, therefore, violated the 2015 TPDES Permit and

Section 26.121 of the Texas Water Code, Tex. Water Code § 26.121. Subject to a reasonable

opportunity for further investigation or discovery, PMNA, as the current Permittee, continues to

violate this condition of the 2015 TPDES Permit by not correcting inaccuracies in the

information upon which the Permit is based.

        205.    Pursuant to Section 309(b) and (d) of the CWA, 33 U.S.C. § 1319(b) and (d),

Defendants are liable to the United States for civil penalties for each such violation occurring

during their respective periods of ownership and operation of the Facility, and PMNA is liable

for injunctive relief.

        206.    For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                   FOURTEENTH CLAIM FOR RELIEF – CAA (BWON)
                (Failure to Determine the Annual Waste Quantity for Each Benzene
                     Waste Stream at the Point of Waste Generation for 2006)

        207.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

        208.    Pursuant to 40 C.F.R. § 61.355(a), the owner or operator of a chemical

manufacturing plant must determine and report the total annual benzene contained in facility

waste in accordance with the procedures established therein. Among other requirements, for each

covered waste stream the facility must determine the annual waste quantity at the point of waste

generation. 40 C.F.R. § 61.355(a)(1)(i) and (b).

        209.    “Point of waste generation” is defined in 40 C.F.R. § 61.341 as meaning “the


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location where the waste stream exits the process unit component or storage tank prior to

handling or treatment in an operation which is not an integral part of the production process, or

in the case of waste management units that generate new wastes after treatment, the location

where the waste exits the waste management unit component.”

        210.    “Waste management unit” is defined in 40 C.F.R. § 61.341 as “a piece of

equipment, structure, or transport mechanism used in the handling, storage, treatment, or

disposal of waste. Examples of a waste management unit include a tank, surface impoundment,

container, oil-water separator, individual drain system, steam stripping unit, thin-film

evaporation unit, waste incinerator and landfill.”

        211.    DuPont’s 2006 Total Annual Benzene (“TAB”) Report states that “the attached

TAB does not identify and characterize each and every benzene-containing stream at its potential

first point of waste generation.”

        212.    For calendar year 2006, DuPont failed to determine and report the annual waste

quantity for all benzene-containing waste streams at the point of waste generation in violation of

40 C.F.R. §§ 61.355(a)-(b) and 30 Tex. Admin. Code §§ 122.143(4) and 116.115(c).

        213.    Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

        214.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), DuPont is liable to

the United States for civil penalties for each such violation.

        215.    For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, DuPont is also liable to

the State for civil penalties.


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                       FIFTEENTH CLAIM FOR RELIEF – CAA (BWON)
               (Violation of Reporting Requirements for Benzene in 2006 TAB Report)

        216.     Paragraphs 1 through 94 are realleged and incorporated herein by reference.

        217.     40 C.F.R. § 61.357(d)(2) provides that if the total annual benzene quantity from

facility waste is equal to or greater than 10 Mg/yr (11 tons/yr), then the owner or operator must

submit an annual TAB Report that contains, among other things, the following information from

Section 61.357(a)(2): “[a] table identifying each waste stream and whether or not the waste

stream will be controlled for benzene emissions in accordance with [40 C.F.R. Part 61, Subpart

FF].”

        218.     In its 2006 TAB Report, DuPont failed to identify each waste stream and whether

or not the waste stream will be controlled in accordance with 40 C.F.R. Part 61, Subpart FF.

        219.     By failing to properly identify all waste streams in its 2006 TAB Report, DuPont

violated 40 C.F.R. §§ 61.357(d) and 30 Tex. Admin. Code § 122.143(4).

        220.     Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

        221.     Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), DuPont is liable to

the United States for civil penalties for each such violation.

        222.     For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, DuPont is also liable to

the State for injunctive relief and civil penalties.

                      SIXTEENTH CLAIM FOR RELIEF – CAA (BWON)
                 (Failure to Determine the Benzene Annual Waste Quantity for Each
                  Waste Stream at the Point of Waste Generation – Quench Tower)

        223.     Paragraphs 1 through 94 are realleged and incorporated herein by reference.

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         224.   Pursuant to 40 C.F.R. § 61.355(a), the owner or operator of a chemical

manufacturing plant must determine the total annual benzene quantity contained in facility waste

in accordance with the procedures established therein. Among other requirements, the facility

must determine the annual waste quantity for each covered waste stream at the point of waste

generation. 40 C.F.R. § 61.355(a)(1)(i) and (b).

         225.   The Quench Tower used in the ethylene manufacturing process is a “waste

management unit” as that term is defined in 40 C.F.R. § 61.341.

         226.   The point of generation of this waste management unit is the exit of the Quench

Tower.

         227.   For calendar years 2006 through 2015, DuPont failed to determine the annual

benzene waste quantity for the waste stream exiting the Quench Tower, in violation of 40 C.F.R.

§§ 61.355(a)-(b) and 30 Tex. Admin. Code § 122.143(4). Subject to a reasonable opportunity for

further investigation or discovery, Defendants have continued to violate these regulations.

         228.   Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

         229.   Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties for each violation occurring during their respective

periods of ownership and operation of the Facility, and PMNA is liable for injunctive relief.

         230.   For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.


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                   SEVENTEENTH CLAIM FOR RELIEF – CAA (BWON)
                    (Failure to Include Quench Tower Benzene Waste Stream in
                                  2006 through 2015 TAB Reports)

          231.   Paragraphs 1 through 94 are realleged and incorporated herein by reference.

          232.   40 C.F.R. § 61.357(d)(2) provides that if the total annual benzene quantity from

facility waste is equal to or greater than 10 Mg/yr (11 tons/yr), then the owner or operator must

submit an annual report that contains, among other things, the following information from

61.357(a)(2): “[a] table identifying each waste stream and whether or not the waste stream will

be controlled for benzene emissions in accordance with [40 C.F.R. Part 61, Subpart FF].”

          233.   DuPont failed to identify the Quench Tower Waste Stream in the 2006 through

2015 TAB Reports.

          234.   By failing to identify the Quench Tower Waste Stream in the 2006 through 2015

TAB Reports, DuPont violated 40 C.F.R. § 61.357(d)(2) and 30 Tex. Admin. Code § 122.143(4).

Subject to a reasonable opportunity for further investigation or discovery, Defendants have

continued to violate these regulations.

          235.   Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

          236.   Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties for each such violation occurring during their

respective periods of ownership and operation of the Facility, and PMNA is liable for injunctive

relief.

          237.   For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also


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liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                   EIGHTEENTH CLAIM FOR RELIEF – CAA (BWON)
                  (Failure to Accurately Report Annual Benzene Waste Quantity
                      for Quench Settler in 2008 through 2016 TAB Reports)

       238.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

       239.    40 C.F.R. § 61.357(d)(2) provides that, if the total annual benzene quantity from

facility waste is equal to or greater than 10 Mg/yr (11 tons/yr), then the owner or operator must

submit an annual TAB Report that contains, among other things, the following information from

61.357(a):

               (2) A table identifying each waste stream and whether or not the waste stream
               will be controlled for benzene emissions in accordance with 40 C.F.R. Part 61,
               Subpart FF; and

               (3) If a waste stream is identified as being not controlled, the annual waste
               quantity for the waste stream must be reported.

       240.    DuPont reported that the Quench Settler Stream is uncontrolled.

       241.    DuPont incorrectly reported in the 2008 through 2016 TAB Reports that the

annual waste quantity for the Quench Settler Stream is 1,986 Mg. The correct number is not

possible to determine because DuPont did not measure the flow rate of the waste stream, nor did

it develop standard procedures for the draining of the Quench Settler Stream to ensure the flow

rate of this waste stream is consistent, measurable, and reported accurately.

       242.    Therefore, by failing to accurately report the annual waste quantity for the

Quench Settler Stream, DuPont violated 40 C.F.R. § 61.357(a)(3)(vi) and (d)(2) and 30 Tex.

Admin. Code § 122.143(4). Subject to a reasonable opportunity for further investigation or

discovery, Defendants have continued to violate these regulations.

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           243.   Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

           244.   Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties for each such violation occurring during their

respective periods of ownership and operation of the Facility, and PMNA is liable for injunctive

relief .

           245.   For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                      NINETEENTH CLAIM FOR RELIEF – CAA (BWON)
            (Failure to Comply with Oil-Water Separator Requirements at Quench Settler)

           246.   Paragraphs 1 through 94 are realleged and incorporated herein by reference.

           247.   Pursuant to 40 C.F.R. § 61.347(a)(1), the owner or operator of an oil-water

separator shall install, operate, and maintain a fixed roof and closed-vent system that routes all

organic vapors vented from the oil-water separator to a control device.

           248.   “Oil-water separator” is defined in 40 C.F.R. § 61.341 as meaning “a waste

management unit, generally a tank or surface impoundment, used to separate oil from water.”

           249.   Defendants use a device called a Quench Settler in the ethylene manufacturing

process to separate the entrained organic liquids from aqueous liquids in the used quench water.

           250.   The Quench Settler is an “oil-water separator” as that term is defined in 40 C.F.R.

§ 61.341.

           251.   Pursuant to 40 C.F.R. § 61.347(a)(1)(i), the fixed roof of an oil-water separator

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shall meet several requirements, including a requirement that the cover and all openings be

designed to operate with no detectable emissions, as determined through initial and annual tests

in accordance with 40 C.F.R. § 61.355(h), and a requirement that each opening be maintained in

a closed, sealed position at all times that waste is in the oil-water separator.

       252.    40 C.F.R. § 61.347(b) requires that each cover seal, access hatch, and all other

openings be checked by visual inspections initially and quarterly thereafter to ensure that no

cracks or gaps occur between the cover and the oil-water separator wall, and that the access

hatches and other openings are closed and gasketed properly.

       253.    From at least the date of the 2009 Inspection through the 2015 Inspection, DuPont

failed to conduct initial or annual monitoring at the Quench Settler to determine whether the

cover and all openings operate with no detectable emissions using the method set forth in 40

C.F.R. § 61.355(h). DuPont also failed to conduct the initial or quarterly inspections to ensure

that no cracks or gaps occur between the cover and the oil-water separator wall, and that access

hatches and other openings are closed and gasketed properly. Subject to a reasonable opportunity

for further investigation or discovery, Defendants have continued to violate these regulations.

       254.    Therefore, by failing to conduct required monitoring and inspections at the

Quench Settler, Defendants have violated 40 C.F.R. § 61.347(a) and (b) and 30 Tex. Admin.

Code § 122.143(4).

       255.    Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

       256.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties for each such violation occurring during their


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respective periods of ownership and operation of the Facility, and PMNA is liable for injunctive

relief.

          257.   For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                     TWENTIETH CLAIM FOR RELIEF – CAA (BWON)
                      (Failure to Comply with Drain System Requirements)

          258.   Paragraphs 1 through 94 are realleged and incorporated herein by reference.

          259.   40 C.F.R. § 61.342(c)(1)(i) – (ii) requires that the owner or operator of a facility

at which the total annual benzene quantity from facility waste is equal to or greater than 10

Mg/yr (11 ton/yr) must remove or destroy the benzene contained in the waste using a treatment

process or wastewater treatment system that complies with the standards in 40 C.F.R. § 61.348,

and must comply with the standards specified in 40 C.F.R. §§ 61.343 – 61.347, for each waste

management unit that receives or manages the waste stream prior to and during treatment of the

waste stream.

          260.   Pursuant to 40 C.F.R. § 61.342(c), owners or operators of facilities where the

TAB is equal or greater than 10 Mg/yr must comply with the standards in 40 C.F.R. § 61.346 for

each “individual drain system” in which waste is placed. “[I]ndividual drain system” is defined

in the regulation as “the system used to convey waste from a process unit, product storage tank,

or waste management unit to a waste management unit. The term includes all process drains and

common junction boxes, together with their associated sewer lines and other junction boxes,

down to the receiving waste management unit.” 40 C.F.R. § 61.341.

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       261.    A “sewer line” is defined in the regulation as “a lateral, trunk line, branch line, or

other enclosed conduit used to convey waste to a downstream waste management unit.” 40

C.F.R. § 61.341.

       262.    The regulations at 40 C.F.R. § 61.346 require that an owner or operator control

individual drain systems either by using a closed vent system and control device for each

individual drain system opening, 40 C.F.R. § 61.346(a)(1), or, as an alternative, by equipping

each drain with water seal controls or a tightly sealed cap or plug, pursuant to 40 C.F.R.

§ 61.346(b)(1). Further, 40 C.F.R. § 61.346(b)(3) states that each sewer line shall not be open to

the atmosphere and shall be covered or enclosed in such a manner as to have no visible gaps or

cracks in joints, seals, or other emission interfaces.

       263.    During the 2009 Inspection, EPA inspected DuPont’s individual drain systems.

EPA found that above surface process drains (pipes) conveying wastes from process equipment

to below grade sewer drains were open to the atmosphere because they discharged into concrete

lined areas before they reached the receiving sewer drains. During the 2015 Inspection, EPA

determined that these same above surface process drains were still not connected to the receiving

sewer drains; there remained a gap (from several inches to over a foot) between the discharge

from the process drains and the riser of the receiving sewer drains that allowed the escape of

fugitive benzene emissions to the atmosphere.

       264.    Therefore, by failing to enclose all process drains or connect process drains to the

receiving sewer drains, DuPont violated the control requirements of 40 C.F.R. § 61.346 and 30

Tex. Admin. Code § 122.143(4). Subject to reasonable opportunity for further investigation or

discovery, Defendants have continued to violate these requirements from at least the date of the


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2009 Inspection to the present.

          265.   Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

          266.   Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties for each such violation occurring during their

respective periods of ownership and operation of the Facility, and PMNA is liable for injunctive

relief.

          267.   For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                   TWENTY-FIRST CLAIM FOR RELIEF – CAA (BWON)
                         (Failure to Comply with 2 Mg/Yr Limit)

          268.   Paragraphs 1 through 94 are realleged and incorporated herein by reference.

          269.   40 C.F.R. § 61.342(c)(1)(i) – (ii) requires that the owner or operator of a facility

at which the total annual benzene quantity from facility waste is equal to or greater than 10

Mg/yr (11 ton/yr) must remove or destroy the benzene contained in the waste using a treatment

process or wastewater treatment system that complies with the standards in 40 C.F.R. § 61.348,

and must comply with the standards specified in 40 C.F.R. §§ 61.343 – 61.347, for each waste

management unit that receives or manages the waste stream prior to and during treatment of the

waste stream.

          270.   40 C.F.R. § 61.342(c)(3) provides that a waste stream is exempt from the

requirements of 40 C.F.R. § 61.343(c)(1) provided that the total annual benzene quantity in all

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waste streams chosen for exemption in 40 C.F.R. § 61.343(c)(3)(ii) does not exceed 2.0 Mg/yr

(2.2 ton/yr), as determined in the procedures in 40 C.F.R. § 61.355(j).

          271.   EPA observed during its 2009 Inspection that above surface process drains

conveying wastes from process equipment to below grade sewer drains were open to the

atmosphere because they discharged into concrete lined areas before they reached the water seals

for the receiving sewer drains. EPA observed during its 2015 Inspection that these same above

surface process drains were still not connected to the receiving sewer drains; there remained a

gap (from several inches to over a foot) between the discharges from the process drains and the

risers of the receiving sewer drains that allowed the escape of fugitive benzene emissions to the

atmosphere. DuPont incorrectly identified these waste streams as controlled in its 2009 TAB

Report.

          272.   In the 2008-2016 TAB Reports, DuPont incorrectly reported less than 2 Mg/yr of

uncontrolled waste streams. Based on EPA’s observations and the waste stream data, however,

uncontrolled benzene emissions from the process drains are actually over 6 Mg/yr.

          273.   Therefore, by generating over 2 Mg/yr of uncontrolled benzene waste streams

each year during the period from at least 2008 through 2015, DuPont violated 40 C.F.R. §

61.342(c)(1) and 30 Tex. Admin. Code § 122.143(4).

          274.   Subject to a reasonable opportunity for additional investigation and discovery,

Defendants have continued to misreport uncontrolled benzene at the Facility and violate 40

C.F.R. § 61.342(c)(1) and 30 Tex. Admin. Code § 122.143(4).

          275.   Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).


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       276.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), DuPont is liable to

the United States for civil penalties for each such violation occurring during their respective

periods of ownership and operation of the Facility, and PMNA is liable for injunctive relief.

       277.    For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                TWENTY-SECOND CLAIM FOR RELIEF – CAA (BWON)
                  (Failure to Maintain Records Identifying Waste Streams)

       278.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

       279.    Pursuant to 40 C.F.R. § 61.356(b), owners or operators of facilities where the

TAB is equal or greater than 10 Mg/yr must maintain records that identify each waste stream at

the facility subject to BWON requirements.

       280.    During the 2009 Inspection, sewer lines to several drains were open to the

atmosphere because they discharged into concrete lined areas before they reached the water seals

for the drain. During the 2015 Inspection, EPA Inspectors discovered that many of the drains

listed in the Facility’s records were not identified at the same location as in the 2009 Inspection.

DuPont could not explain the differences, nor identify current locations of drains identified in the

TAB Reports.

       281.    Therefore, by failing to maintain records identifying each waste stream at the

Facility subject to BWON requirements, DuPont violated 40 C.F.R. § 61.356(b) and 30 Tex.

Admin. Code §§ 116.115(c) and 122.143(4). Subject to reasonable opportunity for further

investigation or discovery, Defendants have continued to violate these requirements from at least

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the date of the 2015 Inspection to the present.

          282.   Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

          283.   Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties for each such violation occurring during their

respective periods of ownership and operation of the Facility, and PMNA is liable for injunctive

relief.

          284.   For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                  TWENTY-THIRD CLAIM FOR RELIEF – CAA (BWON)
                 (Failure to Operate API Separator with No Detectable Emissions)

          285.   Paragraphs 1 through 94 are realleged and incorporated herein by reference.

          286.   Pursuant to 40 C.F.R. § 61.347(a)(1)(i)(A), the cover and all openings of an oil-

water separator shall be designed to operate with no detectable emissions as measured by an

instrument reading of less than 500 ppmv above background.

          287.   Defendants have used an American Petroleum Institute oil-water separator (API

Separator) to separate heavy aromatic distillate (“HAD”) from wastewater generated in the

ethylene process area. The HAD product is 50% benzene and is collected in tanks and loaded

onto barges for sale. The wastewater from the API Separator is collected in tanks and sent to the

Ethylene Steam Strippers.

          288.   The API Separator is an “oil-water separator” as that term is defined in 40 C.F.R.

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§ 61.341.

        289.    During the 2015 Inspection, emissions measured from the cover of Defendants’

API Separator exceeded 35,000 ppmv due in part to leaks/holes in the API Separator. DuPont

failed to seal the leaks from the API Separator for several days. On January 25, 2016, EPA made

an unannounced visit to the Facility where EPA observed repairs that DuPont had made to the

API Separator and found no detectable emissions at that time.

        290.    By failing to operate the API Separator without detectable emissions, DuPont

violated the requirements at 40 C.F.R. § 61.347(a)(1) and 30 Tex. Admin. Code 122.143(4).

Subject to reasonable opportunity for further investigation or discovery, DuPont violated these

requirements for at least the four days of the 2015 Inspection and likely for some period before

and after the Inspection.

        291.    Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

        292.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), DuPont is liable to

the United States for civil penalties for each such violation.

        293.    For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, DuPont is also liable to

the State for civil penalties.

                 TWENTY-FOURTH CLAIM FOR RELIEF – CAA (BWON)
               (Failure to Comply with Monitoring Requirements at API Separator)

        294.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

        295.    40 C.F.R. § 61.347(a) and 30 Tex. Admin. Code 122.143(4) require that the

owner or operator of an oil-water separator must design, operate and maintain a fixed roof and

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closed-vent system that routes all organic vapors to a control device and that each opening shall

be maintained in a closed, sealed position at all times that waste is in the oil-water separator. 40

C.F.R. § 61.347(b) requires the owner or operator to inspect each cover seal and all openings by

visual inspection quarterly to ensure that no cracks or gaps occur between the cover and the oil-

water separator. 40 C.F.R. § 61.347(c) requires that a broken seal or gasket be repaired as soon

as practicable but no less than 15 days after identification.

       296.    During the 2015 Inspection, DuPont told inspectors that its most recent quarterly

inspection of the API Separator had occurred on October 29, 2015, and that it had not observed

gaps or cracks between the cover and separator wall.

       297.    During the 2015 Inspection, EPA inspectors observed very aged and cracked

caulking with an obvious gap between the cover and the oil-water separator wall and measured

excessive benzene emissions there. A proper inspection of the API Separator in October 2015

would have detected the gap. On January 25, 2016, EPA made an unannounced visit to the

Facility where EPA observed repairs that DuPont had made to the API Separator and found no

detectable emissions at that time from the API Separator.

       298.    Therefore, by failing to conduct the required inspections at the API Separator to

ensure that no cracks or gaps occur between the cover and the oil-water separator wall, and that

the access hatches and other openings were closed and gasketed properly, DuPont violated 40

C.F.R. § 61.347(a) and (b) and 30 Tex. Admin. Code 122.143(4). Subject to reasonable

opportunity for further investigation or discovery, even with the particular leaks repaired, in the

absence of a change to DuPont’s standard operating procedures, Defendants have continued to

violate the quarterly inspection requirements from at least the date of the 2015 Inspection to the


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present.

       299.    Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

       300.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States civil penalties for each such violation occurring during their respective

periods of ownership and operation of the Facility, and PMNA is liable for injunctive relief.

       301.    For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                 TWENTY-FIFTH CLAIM FOR RELIEF – CAA (BWON)
              (Failure to Properly Design and Operate API Separator Vent System)

       302.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

       303.    Pursuant to 40 C.F.R. § 61.349(a)(1), vent systems coming from an oil-water

separator shall be designed such that any bypass lines that could divert a subject vent stream

away from a control device used to comply with BWON requirements must include a flow

indicator that provides a record of vent stream flow away from the control device at least once

every 15 minutes.

       304.    Defendants’ API Separator is vented to a waste heat steam superheater for

destruction of benzene vapors.

       305.    During the 2015 Inspection, EPA observed a bypass line to the superheater that

did not have a flow indicator on the line. Inspectors also observed that a conservation vent on the

bypass line was dripping condensate and venting emissions directly to the atmosphere on three

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successive days. On January 25, 2016, EPA made an unannounced visit to the Facility where

EPA observed the bypass line with infrared cameras and found no detectable emissions from the

vent at that time, but there was still no flow meter as required.

          306.   By failing to install, maintain, and operate a flow indicator on the bypass line,

DuPont violated the requirements at 40 C.F.R. § 61.349(a)(1)(ii) and 30 Tex. Admin. Code

122.143(4). Subject to reasonable opportunity for further investigation or discovery, Defendants

have continued to violate the flow monitor requirement from at least the date of the 2015

Inspection to the present.

          307.   Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

          308.   Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties for each such violation occurring during their

respective periods of ownership and operation of the Facility, and PMNA is liable for injunctive

relief.

          309.   For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                   TWENTY-SIXTH CLAIM FOR RELIEF – CAA (BWON)
                   (Failure to Comply with 2 Mg/Yr Limit at the API Separator)

          310.   Paragraphs 1 through 94 are realleged and incorporated herein by reference.

          311.   The regulations at 40 C.F.R. § 61.342(c)(1)(i) – (ii) require that the owner or

operator of a facility at which the total annual benzene quantity from facility waste is equal to or

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greater than 10 Mg/yr (11 ton/yr) must remove or destroy the benzene contained in the waste

using a treatment process or wastewater treatment system that complies with the standards in 40

C.F.R. § 61.348, and must comply with the standards specified in 40 C.F.R. §§ 61.343 – 61.347

for each waste management unit that receives or manages the waste stream prior to and during

treatment of the waste stream. 40 C.F.R. § 61.342(c)(3) provides that a waste stream is exempt

from the requirements of 40 C.F.R. § 61.343(c)(1) provided that the total annual benzene

quantity in all waste streams chosen for exemption in 40 C.F.R. § 61.343(c)(3)(ii) does not

exceed 2.0 Mg/yr (2.2 tons/yr), as determined using the procedures in 40 C.F.R. § 61.355(j).

       312.    DuPont operated the API Separator in poor working condition and inconsistent

with the requirements in 40 C.F.R. §§ 61.343 – 61.347 to operate the oil-water separator with no

detectable emissions. At the time of the 2015 inspection, the control device for the API Separator

was bypassed, so benzene vapors were venting directly to the atmosphere.

       313.    During the four-day period of the 2015 Inspection, DuPont managed a flow of

approximately 39 Mg of uncontrolled benzene waste through the API Separator which emitted

vapors directly to the atmosphere. On January 25, 2016, EPA made an unannounced visit to the

Facility where EPA observed repairs that DuPont had made to the API Separator and found no

detectable emissions at that time from the API Separator.

       314.    Therefore, by generating over 2 Mg of uncontrolled benzene waste streams in

2015, Defendant violated 40 C.F.R. § 61.342(c)(1) and 30 Tex. Admin. Code § 122.143(4).

Subject to reasonable opportunity for further investigation or discovery, Defendant violated these

requirements for at least the four days of the 2015 Inspection and likely for some period before

and after the 2015 Inspection.


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        315.    Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

        316.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), DuPont is liable to

the United States for civil penalties for each such violation.

        317.    For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, DuPont is also liable to

the State for civil penalties.

                TWENTY-SEVENTH CLAIM FOR RELIEF – CAA (BWON)
                 (Failure to Operate DGF Unit with No Detectable Emissions)

        318.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

        319.    Pursuant to 40 C.F.R. §§ 61.348(a)(2) and 61.347(a)(1), any waste stream

treatment process shall be designed and operated with no detectable benzene emissions as

measured by an instrument reading of less than 500 ppmv above background.

        320.    Defendants use a dissolved gas flotation unit (“DGF Unit”) as part of its ethylene

process wastewater treatment.

        321.    The DGF Unit is a treatment process as defined by 40 C.F.R. § 61.341.

        322.    During the 2015 Inspection, EPA measured multiple components of DuPont’s

DGF Unit, including a hatch and vacuum breaker/pressure relief device, to be leaking at a rate of

over 10,000 ppmv. During a subsequent Facility visit by EPA Inspectors on January 24, 2016,

EPA again detected benzene emissions in excess of 500 ppmv at a majority of the hatches on the

top of the DGF unit.

        323.    By failing to design and operate the DGF Unit without detectable benzene

emissions, DuPont violated the requirements at 40 C.F.R. §§ 61.348(a)(2) and 61.347(a)(1) and

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30 Tex. Admin. Code 122.143(4). Subject to reasonable opportunity for further investigation or

discovery, Defendants have continued to violate these requirements from at least the date of the

2015 Inspection to the present.

          324.   Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

          325.   Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties for each such violation occurring during their

respective periods of ownership and operation of the Facility, and PMNA is liable for injunctive

relief.

          326.   For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                  TWENTY-EIGHTH CLAIM FOR RELIEF – CAA (BWON)
                      (Failure to Certify Compliance – Steam Stripper)

          327.   Paragraphs 1 through 94 are realleged and incorporated herein by reference.

          328.   Pursuant to 40 C.F.R. § 61.356(e)(1), owners or operators using a treatment

process or wastewater treatment system unit subject to 40 C.F.R. § 61.348 must maintain a

signed and dated statement certifying that the unit is designed to operate at the documented

performance level when the waste stream entering the unit is at the highest waste stream flow

rate and benzene content expected to occur. This certification must be retained for the life of the

unit.

          329.   DuPont operated two ethylene plant steam strippers at its Facility: the North

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Steam Stripper (DA-1100), and the South Steam Stripper (DA-1101).

        330.    The ethylene plant steam strippers are treatment processes subject to 40 C.F.R.

§ 61.348.

        331.    DuPont violated 40 C.F.R. § 61.356(e)(1) by failing to maintain a signed

certification for each stripper that the steam strippers are designed to operate at the documented

performance level when the waste stream entering the unit is at the highest waste stream flow

rate and benzene concentration expected to occur. DuPont could not produce the certification to

inspectors during the 2009 Inspection.

        332.    Each such violation is also a violation of 30 Tex. Admin. Code § 122.143(4).

        333.    Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

        334.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendant is liable

to the United States for civil penalties for each such violation.

        335.    For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, DuPont is also liable to

the State for civil penalties.

                    TWENTY-NINTH CLAIM FOR RELIEF- CAA (MON)
                   (Failure to Comply with MON Drain Requirements at C Unit)

        336.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

        337.    The C Unit is a “miscellaneous organic chemical manufacturing process” unit

(“MCPU”), as defined by 40 C.F.R. § 63.2550, and thus is subject to the Miscellaneous Organic

Chemical Manufacturing NESHAP (“MON”), 40 C.F.R. Part 63, Subpart FFFF.

        338.    The Melt Cutter Water Sump (Emission Point PL-10/12) is part of the C Unit.

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       339.    DuPont’s NOCS for the MON dated October 7, 2008 (“2008 NOCS”) lists the

wastewater from the Melt Cutter Water Sump as a Group 1 wastewater.

       340.    40 C.F.R. § 63.2485(a) provides that the owner or operator that has wastewater

streams within a MCPU [e.g., the C Unit] must meet the requirements in 40 C.F.R. Part 63,

Subpart FFFF, Table 7.

       341.    40 C.F.R. Part 63, Subpart FFFF, Table 7 provides that the owner or operator

must comply with the requirements of 40 C.F.R. §§ 63.132 – 63.148, except as specified in 40

C.F.R. § 63.2485.

       342.    Pursuant to 40 C.F.R. § 63.132(a)(2), wastewater streams that have been

designated as Group 1 for Table 8 and 9 compounds must comply with applicable requirements

for individual drain systems as specified in 40 C.F.R. § 63.136.

       343.    In its 2008 NOCS, DuPont designated wastewater from DuPont’s C Unit Melt

Cutter Water Sump as a Group 1 wastewater stream.

       344.    40 C.F.R. § 63.136 provides that if an individual drain system receives or

manages a Group 1 wastewater stream, or a residual removed from a Group 1 wastewater stream,

the drain system must be controlled as specified therein. More specifically, 40 C.F.R.

§ 63.136(e)(3) provides that each sewer line shall not be open to the atmosphere and shall be

covered or enclosed in such a manner so as to have no visible gaps or cracks in the joints, seals,

or other emission interfaces.

       345.    “[I]ndividual drain system” is defined in the regulation as “the system used to

convey wastewater streams or residuals to a waste management unit or to discharge or disposal.

The term includes hard-piping, all process drains and junction boxes, together with their


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associated sewer lines and other junction boxes, manholes, sumps, and lift stations, conveying

wastewater streams or residuals. . . .” 40 C.F.R. § 63.111.

          346.   A “sewer line” is defined in the regulation as “a lateral, trunk line, branch line, or

other conduit, including, but not limited to, grates, trenches, etc., used to convey wastewater

streams or residuals to a downstream waste management unit.” 40 C.F.R. § 63.111.

          347.   At its 2009 Inspection, EPA observed that the Melt Cutter Water Sump overflow

water is discharged into an open sewer line that is not controlled.

          348.   By discharging a Group 1 wastewater into an open sewer line that is not

controlled, DuPont violated 40 C.F.R. §§ 63.132(a)(2) and 63.136(e)(3) and 30 Tex. Admin.

Code §§ 113.120 and 122.143(4). Subject to reasonable opportunity for further investigation or

discovery, Defendants have continued to violate these requirements for a Group 1 wastewater

from at least the date of the 2009 Inspection to the present.

          349.   Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

          350.   Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties for each such violation occurring during their

respective periods of ownership and operation of the Facility, and PMNA is liable for injunctive

relief.

          351.   For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.


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                     THIRTIETH CLAIM FOR RELIEF- CAA (MON)
                     (Failure to Comply with MON Surface Impoundment
                       Requirements at Fifth Street Wood-Lined Ditch)

       352.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

       353.    Pursuant to 40 C.F.R. § 63.132(a)(2), wastewater streams that have been

designated as Group 1 for Table 8 and 9 compounds must comply with applicable requirements

for surface impoundments as specified in 40 C.F.R. § 63.134.

       354.    40 C.F.R. § 63.134(a) provides, inter alia, that any surface impoundment that

receives, manages, or treats a Group 1 wastewater stream or a residual removed from a Group 1

wastewater stream, must be covered and meet the control requirements of 40 C.F.R. § 63.134(b).

       355.    “Surface impoundment” is defined in 40 C.F.R. § 63.111 as meaning “a waste

management unit that is a natural topographic depression, manmade excavation, or diked area

formed primarily of earthen materials, which is designed to hold an accumulation of liquid

wastes or waste containing free liquids.”

       356.    The Fifth Street Wood-Lined Ditch is a “surface impoundment” as that term is

defined by 40 C.F.R. § 63.111.

       357.    The Fifth Street Wood-Lined Ditch is uncovered.

       358.    The C Unit Melt Cutter Water Sump overflow water is discharged to the Fifth

Street Wood-Lined Ditch.

       359.    By discharging a Group 1 wastewater into an uncovered surface impoundment

DuPont violated 40 C.F.R. §§ 63.132(a)(2) and 63.134(b) and 30 Tex. Admin. Code §§ 113.120

and 122.143(4). Starting June 13, 2017, this is also a violation of 30 Tex. Admin. Code

§ 116.115(c). Subject to reasonable opportunity for further investigation or discovery,


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Defendants have continued to violate these requirements for a Group 1 wastewater from at least

the date of the 2009 Inspection to the present.

       360.    Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

       361.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties during their respective periods of ownership and

operation of the Facility, and PMNA is liable for injunctive relief.

       362.    For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                         THIRTY-FIRST CLAIM FOR RELIEF- CAA
                    (Failure to Include All Required Information for a Group 2
                                   Wastewater Stream in NOCS)

       363.    Paragraphs 1 through 94 are realleged and incorporated herein by reference.

       364.    40 C.F.R. §§ 63.146(b)(1)(iii) & (iv) provides that for Group 2 wastewater

streams, the owner or operator shall include in its NOCS the concentration of Table 8 and 9

compound(s) in parts per million, by weight, and the flow rate in liters per minute.

       365.    DuPont’s 2008 NOCS identifies “Wastewater Sumps –EPN PL-4H” in the C Unit

as Group 2 wastewater streams, but it does not provide the concentration of Table 8 and 9

compound(s) in parts per million, by weight, and the flow rate in liter per minute for the

Wastewater Sumps. Also, it is unclear which sumps DuPont is referring to in its NOCS.

       366.    DuPont violated 40 C.F.R. §§ 63.146(b)(1)(iii) & (iv) and 30 Tex. Admin. Code


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§§ 113.120 and 122.143(4) by failing to include all required information in the 2008 NOCS.

Starting June 13, 2017, this is also a violation of 30 Tex. Admin. Code § 116.115(c). Subject to

reasonable opportunity for further investigation or discovery, Defendants have failed to revise

the NOCS for the Facility and have continued to violate these requirements for the NOCS from

at least the date of the 2009 Inspection to the present.

          367.   Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

          368.   Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties for each such violation occurring during their

respective periods of ownership and operation of the Facility, and PMNA is liable for injunctive

relief.

          369.   For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                        THIRTY-SECOND CLAIM FOR RELIEF- CAA
                 (Failure to Comply with MON Control Requirements at the C Unit)

          370.   Paragraphs 1 through 94 are realleged and incorporated herein by reference.

          371.   Pursuant to 40 C.F.R. § 63.132(a)(2), wastewater streams that have been

designated as Group 1 streams must, among other things, meet the applicable control

requirements for Table 9 compounds set forth in 40 C.F.R. § 63.138.

          372.   Pursuant to 40 C.F.R. § 63.138(a) and (b), existing sources of Group 1 wastewater

streams must control Table 9 compounds through one of seven control options set forth in

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40 C.F.R. § 63.138(b), (d)-(i). These measures require treatment of Group 1 wastewater streams

to reduce the concentration of Table 9 compounds.

          373.   The Melt Cutter Water Sump overflow water is not controlled or treated for

Group 1 wastewater streams.

          374.   Therefore, DuPont violated 40 C.F.R. § 63.138(a) by failing to control or treat the

Melt Cutter Water Sump overflow water, a Group 1 wastewater stream, for Table 9 compounds.

Subject to reasonable opportunity for further investigation or discovery, Defendants have

continued to violate these requirements for a Group 1 wastewater from at least the date of the

2009 Inspection to the present.

          375.   Each such violation is also a violation of 30 Tex. Admin. Code §§ 113.120 and

122.143(4). Starting June 13, 2017, this is also a violation of 30 Tex. Admin. Code § 116.115(c).

          376.   Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

          377.   Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties for each such violation occurring during their

respective periods of ownership and operation of the Facility, and PMNA is liable for injunctive

relief.

          378.   For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.




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                    THIRTY-THIRD CLAIM FOR RELIEF- CAA (MON)
              (Failure to Determine Waste Stream Group Status at C, D, and G Units)

       379.     Paragraphs 1 through 94 are realleged and incorporated herein by reference.

       380.     Pursuant to 40 C.F.R. § 63.144(a), an owner or operator subject to the MON must

determine which process wastewater streams require control for Table 8 and/or Table 9

compounds, and shall either determine Group 1 or Group 2 status of the wastewater stream using

the procedures forth in § 63.144(b) and (c), or designate the stream as a Group 1 wastewater

stream. 40 C.F.R. § 63.144(a)(1) and (2).

       381.     “Process wastewater” is defined in 40 C.F.R. § 63.101 as “wastewater which,

during manufacturing or processing, comes into direct contact with or results from the

production or use of any raw material, intermediate product, finished product, by-product, or

waste product.”

       382.     During its 2009 Inspection, EPA observed certain process wastewater streams

from the C, D, and G Units that were not identified in DuPont’s NOCS. DuPont failed to

determine whether these process wastewater streams require control for Table 8 and/or Table 9

compounds, and failed to determine the Group 1 or Group 2 status of the process wastewater

streams. These waste streams include, but are not limited to, classifiers #1 and #2 wash waters,

purge blender rinsate and decanter water.

       383.     Therefore, DuPont violated 40 C.F.R. § 63.144(a) by failing to determine whether

certain process wastewater streams require control for Table 8 and/or Table 9 compounds, and

by failing to determine the Group 1 or Group 2 status of certain process wastewater streams, or

to designate the streams as Group 1 streams. Subject to reasonable opportunity for further

investigation or discovery, Defendants have continued to violate these requirements from at least

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the date of the 2009 Inspection to the present.

          384.   Each such violation is also a violation of 30 Tex. Admin. Code §§ 113.120,

122.143(4) and 116.115(c).

          385.   Each such violation of a rule or order of the TCEQ is also a violation of Tex.

Health & Safety Code § 382.085(b).

          386.   Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Defendants are

liable to the United States for civil penalties for each such violation occurring during their

respective periods of ownership and operation of the Facility, and PMNA is liable for injunctive

relief.

          387.   For each such violation, pursuant to Sections 7.032, 7.101, 7.102 and 7.105 of the

Texas Water Code, Tex. Water Code §§ 7.032, 7.101, 7.102 and 7.105, Defendants are also

liable to the State for civil penalties for violations occurring during their respective periods of

ownership and operation of the Facility, and PMNA is liable for injunctive relief.

                           THIRTY-FOURTH CLAIM FOR RELIEF
                              (Attorney’s Fees For State of Texas)

          388.   Paragraphs 1 through 94 are realleged and incorporated herein by reference.

          389.   This is an enforcement action brought by the State of Texas under the authority of

Subchapter D, Chapter 7, of the Texas Water Code; Tex. Water Code ch. 7, subch. D.

          390.   Accordingly, the State is entitled to recover reasonable attorneys’ fees, court

costs, and reasonable investigative costs incurred in relation to this proceeding, pursuant to Tex.

Water Code § 7.108.




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                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, the United States of America and the State of Texas,

respectfully pray that this Court provide the following relief:

          1.      An order directing PMNA to take all steps necessary to comply with the statutory

and regulatory requirements cited in this Complaint;

          2.      An order directing PMNA to take appropriate measures to mitigate the effects of

its violations;

          3.      An order assessing civil penalties against Defendants in favor of the United

States;

          4.      An order assessing civil penalties and attorneys’ fees against Defendants in favor

of the State of Texas;

          5.      A judgment awarding the United States and the State of Texas the costs of this

action; and




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